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                       EXHIBIT 11
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                                                                          Page 1

       1      UNITED STATES BANKRUPTCY COURT

       2      SOUTHERN DISTRICT OF NEW YORK

       3      Case No. 19-23649-rdd

       4      Adv. Case No. 19-08289-rdd

       5      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

       6      In the Matter of:

       7

       8      PURDUE PHARMA L.P.,

       9

      10                  Debtor.

      11      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

      12      PURDUE PHARMA L.P., et al.,

      13                        Plaintiffs,

      14                  v.

      15      COMMONWEALTH OF MASSACHUSETTS, et al.,

      16                        Defendants.

      17      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

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                                                                         Page 2

       1                            United States Bankruptcy Court

       2                            300 Quarropas Street, Room 248

       3                            White Plains, NY 10601

       4

       5                            September 30, 2020

       6                            10:08 AM

       7

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     21       B E F O R E :

     22       HON ROBERT D. DRAIN

     23       U.S. BANKRUPTCY JUDGE

     24

     25       ECRO:       UNKNOWN

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                                                                          Page 3

       1      HEARING re Notice of Agenda / Amended Agenda for September

       2      30, 2020 Hearing Motion to File Proof of Claim After Claims

       3      Bar Date (ECF #1645)

       4

       5      HEARING re Stipulation and Agreed Order for Withdrawal

       6      without Prejudice of Scott County, Mississippi's Motion to

       7      Allow/ Deem Timely Late Filing of Proof of Claim (related

       8      document(s)1645, 1647) Filed by James I. McClammy on behalf

       9      of Purdue Pharma L.P. (ECF #1711)

      10

      11      HEARING re Ex Parte Motion of the Debtors for Entry of an

      12      Order Shortening Notice with Respect to Motion of the

      13      Debtors for Entry of an Order (I) Approving Sale of Debtors

      14      Coventry Facility and Related Assets Free and Clear of

      15      Liens, Claims, Interests and Encumbrances, (II) Approving

      16      Debtors Entry into a Long-Term API Supply Agreement, (III)

      17      Authorizing Assumption and Assignment or Assignment, as

      18      Applicable, of Executory Contracts and Unexpired Lease and

      19      (IV) Granting Related Relief filed by Eli J. Vonnegut on

      20      behalf of Purdue Pharma L.P. (related document #1687)

      21      (ECF #1685)

      22

      23      HEARING re Motion for Entry of Order Pursuant to 11 U.S.C.

      24      105(a), 107(b) and Fed. R. Bankr. P. 9018 Authorizing the

      25      Filing of Certain Information and Exhibits Under Seal in

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                                                                          Page 4

       1      Connection with the Motion of the Debtors for Entry of an

       2      Order (I) Approving Sale of Debtors Coventry Facility and

       3      Related Assets Free and Clear of Liens, Claims, Interests

       4      and Encumbrances, (II) Approving Debtors Entry into a Long-

       5      Term API Supply Agreement, (III) Authorizing Assumption and

       6      Assignment or Assignment, as Applicable, of Executory

       7      Contracts and Unexpired Leases and (IV) Granting Related

       8      Relief (related document #1687)(ECF #1686)

       9

      10      HEARING re Motion of the Debtors for Entry of an Order (I)

      11      Approving Sale of Debtors Coventry Facility and Related

      12      Assets Free and Clear of Liens, Claims, Interests and

      13      Encumbrances, (II) Approving Debtors Entry into a Long-Term

      14      API Supply Agreement, (III) Authorizing Assumption and

      15      Assignment or Assignment, as Applicable, of Executory

      16      Contracts and Unexpired Leases and (IV) Granting Related

      17      Relief (related documents #1685 and #1686)(ECF #1687)

      18

      19      HEARING re Declaration of Rafael J. Schnitzler in Support of

      20      Motion of the Debtors for an Order (I) Approving Sale of

      21      Debtors Coventry Facility and Related Assets Free and Clear

      22      of Liens, Claims, Interests and Encumbrances, (II) Approving

      23      Debtors Entry into a Long- Term API Supply Agreement, (III)

      24      Authorizing Assumption and Assignment or Assignment, as

      25      Applicable, of Executory Contracts and Unexpired Leases and

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                                                                          Page 5

       1      (IV) Granting Related Relief filed by Eli J. Vonnegut on

       2      behalf of Purdue Pharma L.P. (ECF #1688)

       3

       4      HEARING re Adversary proceeding: 19-08289-rdd Purdue Pharma

       5      L.P. et al v. Commonwealth of Massachusetts et al

       6      Motion to Extend Time / Motion to Extend the Preliminary

       7      Injunction (related document(s)1) (ECF #197)

       8

       9      HEARING re Memorandum of Law in Support of Motion to Extend

      10      the Preliminary Injunction (related document(s)197) filed by

      11      Benjamin S. Kaminetzky on behalf of Avrio Health L.P.,

      12      Purdue Pharma Inc., Purdue Pharma L.P., Purdue Pharma

      13      Manufacturing L.P., Purdue Pharma of Puerto Rico, Purdue

      14      Pharmaceutical Products L.P., Rhodes Pharmaceuticals L.P.,

      15      Rhodes Technologies (ECF #198)

      16

      17      HEARING re Declaration of Benjamin S. Kaminetzky in Support

      18      of Debtors' Motion to Extend the Preliminary Injunction

      19      (related document(s)197) filed by Benjamin S. Kaminetzky on

      20      behalf of Avrio Health L.P., Purdue Pharma Inc., Purdue

      21      Pharma L.P., Purdue Pharma Manufacturing L.P., Purdue Pharma

      22      of Puerto Rico, Purdue Pharmaceutical Products L.P., Purdue

      23      Pharmaceuticals L.P., Purdue Transdermal Technologies L.P.,

      24      Rhodes Pharmaceuticals L.P., Rhodes Technologies (ECF #199)

      25      Reply Declaration of Benjamin S. Kaminetzky in Support of

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       1      Debtors' Motion to Extend the Preliminary Injunction

       2      (ECF #206)

       3

       4      HEARING re Adversary proceeding: 19-08289-rdd Purdue Pharma

       5      L.P. et al v. Commonwealth of Massachusetts et al

       6      Objection to Motion /Second Restatement of Limited Objection

       7      and Reservation of Rights of Tennessee Public Officials in

       8      Response to Debtors Motion to Extend the Preliminary

       9      Injunction for Richard Sackler (related document(s)197)

      10      (ECF #201)

      11

      12      HEARING re Adversary proceeding: 19-08289-rdd Purdue Pharma

      13      L.P. et al v. Commonwealth of Massachusetts et al

      14      The Non-Consenting States' Voluntary Commitment and Limited

      15      Objection in Response to Purdue's Motion to Extend the

      16      Preliminary Injunction (related document(s)197) filed by

      17      Andrew M. Troop on behalf of Ad Hoc Group of Non- Consenting

      18      States (ECF #202)

      19

      20      HEARING re Adversary proceeding: 19-08289-rdd Purdue Pharma

      21      L.P. et al v. Commonwealth of Massachusetts et al

      22      Limited Objection to Extension of the Preliminary Injunction

      23      (related document(s)197) filed by Paul A. Rachmuth on behalf

      24      of Ad Hoc Committee on Accountability (ECF#205)

      25

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                                                                          Page 7

       1      HEARING re Adversary proceeding: 19-08289-rdd Purdue Pharma

       2      L.P. et al v. Commonwealth of Massachusetts et al

       3      Reply Memorandum of Law in Support of Motion to extend the

       4      Preliminary Injunction (related document(s)197) filed by

       5      Benjamin S. Kaminetzky on behalf of Avrio Health L.P.,

       6      Purdue Pharma L.P., Purdue Pharma Manufacturing L.P., Purdue

       7      Pharma of Puerto Rico, Purdue Pharmaceutical Products L.P.,

       8      Purdue Pharmaceuticals L.P., Purdue Transdermal Technologies

       9      L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies

      10      (ECF #205)

      11

      12      HEARING re Independent Emergency Room Physicians' Motion to

      13      Allow Class Treatment (related document(s)1629)

      14

      15      HEARING re Debtors' Objection to Movant, Independent

      16      Emergency Room Physician's Motion for Class Treatment

      17      (ECF #1717)

      18

      19      HEARING re The Official Committee of Unsecured Creditors

      20      Response to Movant Independent Emergency Room Physician's

      21      Motion for Class Treatment Pursuant to Fed. Bankr. P.

      22      9014 and 7023 for an Order Making Fed. R. Civ. P. 23

      23      Applicable to These Proceedings, and Granting Related Relief

      24      (ECF #1718)

      25

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       1      HEARING re Objection to Motion / Public Claimants' Joint

       2      Objection to Independent Emergency Room Physicians' Motion

       3      to Permit the Filing of a Class Proof of Claim (related

       4      document(s)1629) filed by Kenneth H. Eckstein on behalf of

       5      Ad Hoc Committee of Governmental and Other Contingent

       6      Litigation Claimants (ECF #1720)

       7

       8      HEARING re Joint Statement of Debtors and Public Claimants

       9      in Response to Movant Independent Emergency Room Physician's

      10      Request to Adjourn [Related to ECF No. 1731] filed by

      11      James I. McClammy on behalf of Purdue Pharma L.P.

      12      (ECF #1743)

      13

      14      HEARING re Reply to Motion ER Physician's Motion for Class

      15      Treatment (related document(s)1629) filed by Paul S

      16      Rothstein (ECF #1731)

      17

      18      HEARING re Debtors' Omnibus Objection to Motions by Certain

      19      Claimants for an Order Allowing them to Proceed with a Class

      20      Proof of Claim and Certifying Class (ECF #1421)

      21

      22      HEARING re Public Claimants' Omnibus Objection to Motions

      23      for Leave to File Class Proofs of        Claim (related

      24      document(s)1330, 1362, 1211) filed by Kenneth H. Eckstein on

      25      behalf of Ad Hoc Committee of Governmental and Other

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       1      Contingent Litigation Claimants (ECF #1431)

       2

       3      HEARING re Notice of Withdrawal of ER Physician's Motion

       4      Except as to Specifically Reserving Indiv Request to

       5      Participate in Ongoing Mediation for the Limited Purpose of

       6      Implementation of the Plan (related document(s)1629) filed

       7      by Paul S Rothstein on behalf of Paul S Rothstein

       8      (ECF #1746)

       9

      10      HEARING re Motion to Authorize / Motion of Debtors for Entry

      11      of an Order Authorizing Implementation of a Key Employee

      12      Incentive Plan and a Key Employee Retention Plan

      13      (ECF #1674)

      14

      15      HEARING re Objection to Motion For Order Authorizing

      16      Implementation of a Key Employee Incentive Plan and a Key

      17      Employee Retention Plan (related document(s)1674) filed by

      18      Paul Kenan Schwartzberg on behalf of United States Trustee

      19      (ECF #1708)

      20

      21      HEARING re Objection to Motion (related document(s)1674)

      22      filed by Paul A. Rachmuth on behalf of Ad Hoc Committee on

      23      Accountability (ECF #1709)

      24

      25

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       1      HEARING re Memorandum of Law In Support of Ad Hoc Committee

       2      on Accountability's Objection to Debtors' Motion to Pay

       3      Bonuses (related document(s)1674) filed by Paul A.

       4      Rachmuth on behalf of Ad Hoc Committee on Accountability

       5      (ECF #1710)

       6

       7      HEARING re Debtors' Omnibus Reply in Support of Motion of

       8      Debtors for Entry of an Order Authorizing Implementation of

       9      a Key Employee Incentive Plan and a Key Employee Retention

      10      Plan (related document(s)1674) filed by Eli J. Vonnegut on

      11      behalf of Purdue Pharma L.P. (ECF #1742)

      12

      13

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      24

      25      Transcribed by:    Sonya Ledanski Hyde

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                                                                        Page 11

       1      A P P E A R A N C E S :

       2

       3      DAVIS POLK & WARDWELL LLP

       4             Attorneys for the Debtor

       5             450 Lexington Avenue

       6             New York, NY 10017

       7

       8      BY:    MARSHALL HUEBNER (TELEPHONICALLY)

       9             JAMES MCCLAMMY (TELEPHONICALLY)

      10             CHRISTOPHER ROBERTSON (TELEPHONICALLY)

      11

      12      PILLSBURY WINTHROP SHAW PITTMAN LLP

      13             Attorneys for Ad Hoc Non-Consenting States

      14             31 West 52nd Street

      15             New York, NY 10019

      16

      17      BY:    ANDREW TROOP (TELEPHONICALLY)

      18

      19      EISENBERG & BAUM, LLP

      20             Attorneys for Ad Hoc Committee on Accountability

      21             24 Union Square East

      22             New York, NY 10003

      23

      24      MICHAEL QUINN (TELEPHONICALLY)

      25

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                                                                        Page 12

       1      JAMES RAND (TELEPHONICALLY)

       2              Pro Se

       3              C/O Court

       4              White Plains, NY

       5

       6      ALSO PRESENT TELEPHONICALLY:

       7

       8      JOSEPHINE GARTRELL

       9      LOWELL FINSON

      10      SHEILA BRINBAUM

      11      SARA BRAUNER

      12      HAYDEN COLEMAN

      13      SETH MEYER

      14      CHRISTOHPER ROBERTSON

      15      SARA ROITMAN

      16      ALEX DRAVILLAS

      17      JASMINE BALL

      18      JEFFREY ROSEN

      19      NATASHA LABOVITZ

      20      EMILY F. MACKAY

      21      MAURA MONAGHAN

      22      DANIEL E. STROIK

      23      HAROLD WILLIFORD

      24      ADAM HABERKOM

      25      MARC SKAPOF

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       1      CHRISTOPHER PERKINS

       2      PETER ARONOFF

       3      MARC HIRSCHFEILD

       4      BROOKS BARKER

       5      MITCHELL P. HURLEY

       6      ANN LANGLEY

       7      KEVIN MACLAY

       8      ARIK PREIS

       9      CHRISTOPHER SHORE

      10      MICHELE MEISES

      11      CYRUS MEHRI

      12      GERARD UZZI

      13      HUNTER BLAIN

      14      GREGORY JOSEPH

      15      BENJAMIN KAMINETZKY

      16      NICHOLAS PRETY

      17      HARRISON CULLEN

      18      KENNETH H. ECKSTEIN

      19      JEREMY KLEINMAN

      20      RAMON NAGUIAT

      21      M. VIOLA SO

      22      KATIE STADLER

      23      JAMES STEMPLEL

      24      BARBARA VAN ROOYAN

      25      ANNE WALLICE

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                                                                        Page 14

       1      CATRINA SHEA

       2      DENNIS CHU

       3      MARIA CHUTCHIAN

       4      MEGAN KAPLER

       5      MARA LEVENTHAL

       6      PAUL ROTHSTEIN

       7      DONALD CREADORE

       8      CYNTHIA MUNGER

       9      STEVEN SKALTE

      10      KELSEY MCELVEEN

      11      JAKE HOLDREIGHT

      12      AISHA RICH

      13      OREN LANGER

      14      RONALD BASS

      15      JOSHUA KARSH

      16      SCOTT BICKFORD

      17      ARTEM SKOROSTENSKY

      18      DIETRICH KNAUTH

      19      JEFFREY GARFINKLE

      20      BRANDAN MONTMINY

      21      SHARA CORNELL

      22      PAUL SCHWARTZBERG

      23      HAYLEY THEISEN

      24      SCOTT FLAHERTY

      25      NANCY GOLDIN

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       1                                 P R O C E E D I N G S

       2                    THE COURT:     Good morning.       This is Judge Drain.

       3      We're here in In re Purdue Pharma, LP, et al.                  This is a

       4      completely telephonic omnibus hearing.                  I'll ask you to

       5      identify yourself and your client the first time that you

       6      speak.      It's probably a good idea to do that if you speak

       7      later to make sure that the court reporter can put together

       8      your voice with your name and client.

       9                    There's one authorized recording of these

      10      hearings.      It's taken by Court Solutions which provides a

      11      copy of a daily basis to our clerk's office.                  If you want to

      12      order a transcript, you should contact the clerk's office to

      13      arrange for the preparation of one.

      14                    So with that introduction --

      15                    MAN:   Sir, can you hear me?

      16                    THE COURT:     Yes.

      17                    MAN:   All right.      I'm in inmate at USP Terra Haute

      18      and I'm -- me and my counsel are attempting the follow these

      19      instructions.

      20                    THE COURT:     Okay.

      21                    MAN:   I have a telephonic court hearing before

      22      Drain.      So --

      23                    THE COURT:     All right.      I am Judge Drain, sir.

      24      Just keep listening --

      25                    MAN:   How do you do, sir?         Thank you very much for

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       1      accepting my call, sir.

       2                   THE COURT:     All right.      Very well.   All right.     So

       3      with that introduction by me, I have the amended agenda

       4      submitted by the debtors and I'm prepared to go down that

       5      agenda.

       6                   MR. HUEBNER:     (Indiscernible), Your Honor.         Can I

       7      be heard clearly and shall I proceed?

       8                   THE COURT:     Yes.    You can go ahead.

       9                   MR. HUEBNER:     Thank you, Your Honor.       Good

      10      morning.     For the record, this is Marshall Huebner of Davis,

      11      Polk & Wardwell on behalf of the Purdue debtors.

      12                   Your Honor, this is the first hearing since we

      13      passed our one-year anniversary in Chapter 11 on September

      14      15 of last year, and I did want to take just a minute to

      15      note in particular there's something that was filed on the

      16      docket a couple weeks ago that was not the subject of a

      17      hearing but, in fact, is one of the most momentous

      18      documents, frankly, that I think is related to this debtors

      19      in a very long time.        And that document is the mediator's

      20      report.     I do want to spend just a minute to advise,

      21      formally, the Court and the public and they're exactly what

      22      that represents because I actually think it is, in fact, a

      23      momentous event in these cases.

      24                   THE COURT:     Okay.

      25                   MR. HUEBNER:     As requested in the mediator's

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       1      report, the non-federal public claimants which is really the

       2      states and the cities and the counties and the tribes have

       3      agreed that all value received by them through these Chapter

       4      11 cases will be exclusively dedicated to program designed

       5      to abate the opioid crisis and cannot be used for any other

       6      purpose other than small amounts used to fund administration

       7      of the programs themselves and legal fees and costs.

       8                  As the mediator's report sets forth, to their

       9      knowledge, this is the first time that states, territories,

      10      native American tribes, and local governments have agreed to

      11      be bound by such a commitment which will be embedded both in

      12      the plan of reorganization and the confirmation order

      13      approving such plans.     We have been talking since the very

      14      early days of this case -- in fact, the very first day of

      15      the case -- about what I think is a shared value of so many

      16      people in this case, that 100 percent of the assets of

      17      Purdue and hopefully a very substantial sum from the

      18      shareholders as part of a global settlement will all be used

      19      100 percent to address and abate the opioid crisis.

      20                  You have many people early in the case spoke about

      21      their experience in tobacco and other settlements where they

      22      were all sorts of scandalous articles later about what money

      23      was used for and we have all, I think, have committed that

      24      (indiscernible).    I can remember that this was not going to

      25      have those attributes to it.       And that is now getting locked

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       1      in in the way that I think is really quite important.

       2                  A second thing that happened in that mediation

       3      report and in phase one of the mediation which went on for

       4      months with incredible good faith participation by so many

       5      people under the guidance of our able mediators during a

       6      national pandemic and times of almost unprecedented pain and

       7      dislocation for our country in so many ways are that the

       8      value allocation among the non-consenting groups, the ad hoc

       9      groups, the MSG, and the native American tribes, including

      10      culturally appropriate abatement programs for these

      11      communities was also addressed and advanced very

      12      substantially.    Again, with respect to abatement and local

      13      participation mechanisms in determining what programs will

      14      be funded and the NAACP and the non-federal public claimants

      15      have also committed to continue to engage regarding concern

      16      that that could lead to implementation.

      17                  And so on the government's side with a wide

      18      variety, obviously, of sort of levels of government

      19      (indiscernible) on the non-federal side, of political

      20      perspectives of views about this case and situation -- a

      21      truly set of agreements was reached.

      22                  The progress is actually no less remarkable on the

      23      private side.    AS the Court knows, there were essentially

      24      five groups of pods of private claimants that were sole

      25      phase one mediation parties, and in essence, I think the

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       1      simplest way to summarize it is that agreements in principle

       2      and then for the (indiscernible) of term sheets -- one was

       3      done too late to get to a term sheet before the mediation

       4      report was filed, that it's moving along -- were reached.

       5      There are issues still to be resolved, but I think they are

       6      more along the lines of implementation issues by and large.

       7      Some of the issues are not tiny, but I think we will get

       8      through them.

       9                  And there as well, for every group other than the

      10      personal injury claimants themselves will be eligible to get

      11      cash distributions through, and I quote, fair and equitable

      12      trust distribution procedures developed by the personal

      13      injury claimant's but subject to the consent of the non-

      14      federal public claimants, (indiscernible) such to not to be

      15      unreasonably withheld and approval by the Court as part of a

      16      confirmed plan of reorganization with participation also

      17      (indiscernible) the NES committee.          Other than the personal

      18      injury claimants, the other groups have all agreed to

      19      dedicate substantially all their allocations, again, to

      20      abatement, specific to the opioid crisis.

      21                  And so this is really just a tremendous,

      22      tremendous achievement for which many people who pulled, you

      23      know, all-nighters, late-nighters, weekends, and, of course,

      24      the mediators really do deserve to take a moment and pause,

      25      because, you know, we had said all along that, you know,

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       1      intercreditor allocation was obviously not only a seismic

       2      issue but a gating issue that simply had to be resolved

       3      before we could turn to the next phase of the case and,

       4      frankly, hopefully, as we discussed accelerate that next

       5      phase appropriately.

       6                  As the meditator's report sets out and this will

       7      be my last comment on the mediator's report, the term sheets

       8      are conditioned on a plan of reorganization that includes

       9      participation by the Sackler family, and three of the four

      10      term sheets are also conditioned on the resolution of the

      11      United States' claims on terms reasonably acceptable to the

      12      non-federal public claimants.        And so as we always knew, you

      13      know, one of the meta-issues in the case was intercreditor

      14      allocation.     Another was, where was the money going to go.

      15      And those issues have, in essence, have now been resolved,

      16      subject to some final issues that I said before that need to

      17      be addressed which now we're able to, I think, you know,

      18      fully and hopefully completely to the remaining issues which

      19      include involving -- resolving the claims of the Department

      20      of Justice and, obviously, ideally, resolving the claims of

      21      the state and the parties against the shareholders and going

      22      to a resolution that has the type of sort of all-in global

      23      structure that we've been talking about since the beginning.

      24                  So that is something that I think I did want to

      25      pause on.     The second thing that I do want to pause on just

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       1      for a minute before literally turning to the individual

       2      items on the agenda, is that the agenda letter itself is

       3      actually another kind of noteworthy document.          As we

       4      promised the Court on the first day of the case and I

       5      believe that we have kept that promise at every hearing, you

       6      know, we would all work like the dickens to narrow, to

       7      resolve, to restructure and to hopefully obviate the need

       8      for -- to resolve whatever issues we possible could.            As

       9      this Court know from other experience, in many cases, you

      10      have three, five, seven, nine contested matters on,

      11      seemingly at each and every omnibus hearing in the Medica

      12      case.   We've approached this case differently as we always

      13      do and so, you know, the reason we filed so many amended

      14      agenda letters in the days leading up to the hearing is

      15      because we just don't stop until the hearing actually begins

      16      trying to narrow and resolve things.

      17                  And so when you look at the agenda for today, at

      18      least the way we see it, you know, we're not here litigating

      19      five, six, seven, eight class claim motions which

      20      originally, actually, was (indiscernible) to be what

      21      September was going to be consumed with and now it's not

      22      happening at all, not even one based on the recent

      23      withdrawal.    We will potentially be going to be commencing a

      24      multi-month extremely, complicated, difficult, involved

      25      aggregate claims estimation process.          Our belief is that is

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       1      now obviated in its entirety and we hope for the duration of

       2      the case.    With respect to the deals that were reached in

       3      the phase one mediation, we might well have had to litigate

       4      the injunction against multiple core constituencies in this

       5      case.   Instead, while -- with no disrespect to the objectors

       6      who of course we need to discuss and resolve, I think the

       7      issues are fair, fair more narrow, certainly with the core

       8      constituencies for the most involved in this case, then

       9      frankly, we though they might in the beginning which itself

      10      is sort of a negative milestone of sorts.           So with respect

      11      to the wages motion, as the Court will hear when we get to

      12      that, again, what is often very difficult and very

      13      inflammatory and we all well understand why.           These are

      14      complicated issues and words like, (indiscernible) and

      15      compensation and, you know, millions are all terribly

      16      difficult words in the context of any Chapter 11 case, not

      17      just ones that are also politically and medically and --

      18      sort of charged with sort health and human safety issues --

      19      but all of them.

      20                  I think this Chapter 11 is difficult place where

      21      many people are suffering losses but there as well, the

      22      issues, frankly, with our core constituencies for today,

      23      other than the U.S. Trustee -- we also do have the ad hoc

      24      committee of accountability which is (indiscernible)

      25      comprised of five individual people who have filed proofs of

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       1      claim against Purdue -- those issues (indiscernible) also

       2      consensual, which is itself is, I think, is another

       3      milestone.      And there's Coventry which is, you know, people

       4      as I said at one of the other hearings -- people sometimes

       5      forget that this is actually an operating pharmaceutical

       6      company that every day hundreds of people have to come to

       7      work and, you know, do dangerous, complicated things and,

       8      you know, sell products and make products in ways that are

       9      appropriate in the manufacturing facilities.         And, you know,

      10      we are relentless in our quest to increase the value of the

      11      company, to engage in rational economic transactions, and

      12      the Coventry transactions are actually very large material

      13      transactions that are completely uncontested in another way

      14      that, I think, people are working to add value to the pot so

      15      that we can, frankly, get all these professionals out of the

      16      way and turn all of our meters off and start getting this

      17      value out to the American people for the abatement purposes

      18      that every single creditor constituency has agreed that it

      19      is going to.

      20                     So with that, you know -- and forgive me, sir, a

      21      ten-minute stage setting to mark or acknowledge our sort of

      22      one-year anniversary.      We certainly have some very hard work

      23      ahead.      I don't think anybody is sanguine about that.      The

      24      issues that remain in front of us are complicated, and as I

      25      sometimes say, you know, you still have river to cross but

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       1      it doesn't mean that you should forget that you've already

       2      crossed a lake that's behind you.         And I feel a little bit

       3      that that's where we are.

       4                  So with that, Your Honor, unless the Court has any

       5      questions, I'd like to turn the podium over to Mr. Robertson

       6      who I think will rip us through us to uncontested matters

       7      and then we can begin with the things that are contested.

       8                  THE COURT:   Okay.    Well, before that, let me say a

       9      few things.    First, just a mechanical point.        I would urge

      10      everyone, again -- not urge -- tell them to put their phones

      11      mute so that those who are speaking can be heard and only

      12      unmute yourself when it's time to speak.

      13                  Secondly, I do want to highlight the filing of the

      14      mediator's report dated September 23, which of course, I

      15      read.   First, I want to thank both mediators, Mssrs.

      16      Phillips and Feinberg.     Obviously, they were well

      17      compensated for their work, but their work was, looking at

      18      it from afar, remarkable and of great benefit, I believe, to

      19      the parties and interests, the estate, and the case in

      20      general.

      21                  I also want to think the people who participated

      22      in the mediation which was a very wide group and a diverse

      23      group -- a remarkably diverse group.          The non-federal public

      24      claimants include the ad hoc committee of governmental and

      25      other contingent litigation claimants, the multi-state

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       1      governmental entity group and the ad hoc group of non-

       2      consenting states.    With the exception of two states that

       3      settled their issues with these debtors pre-bankruptcy, this

       4      group of non-federal public claimants includes all of the

       5      states in the union, as well as territories, as well as a

       6      wide array of governmental entities that are not states.

       7                  The group also included a widely dispersed group

       8      of personal injury claimants and their respective counsel,

       9      third-party payors and insurance health carrier plaintiffs,

      10      an ad hoc group of hospitals throughout the country, the NSA

      11      committee, that is the ad hoc committee of NSA children,

      12      insurance purchasers, Native American tribes, and in an

      13      important observational role, the federal government, the

      14      Department of Justice, and as included partway through the

      15      mediation, public school districts and the NAACP.

      16                  It's rare -- perhaps unprecedented -- to have the

      17      level of consensus that occurred in the mediation occur in

      18      this country.    And it is due, not only to the mediators, but

      19      also as the mediators recognized in their report, the good

      20      faith and hard efforts of the parties that I've just listed.

      21                  I'm also gratified to see that the parties and

      22      interests have acknowledge the importance of devoting

      23      substantially all of the resources of these debtors to

      24      abatement which uniquely in a bankruptcy case can be binding

      25      for all time if a plan is confirmed.          That was a goal of key

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       1      parties in this case and me since the beginning of this case

       2      and is a great achievement given the diverse interests

       3      involved.

       4                   The work as Mr. Huebner noted is not complete but

       5      the agreements main terms are hammered out by the mediators

       6      and the parties are going forward in reliance on them.            So I

       7      want to thank all of the parties for participating in a such

       8      a constructive way in the mediation.

       9                   So why don't we then continue with the uncontested

      10      matters that are on agenda item Roman numeral one.

      11                   MR. MCCLAMMY:   Good morning, Your Honor.        It's Jim

      12      McClammy from Davis Polk on behalf of the debtors.            Can you

      13      hear me?

      14                   THE COURT:   Yes.   Thanks.

      15                   MR. MCCLAMMY:   Excellent.       I have the first item

      16      on the agenda.     That is the Scott County late filed claim

      17      motion.     That had been resolved with thanks to the

      18      consultation with the UCC and counsel for Scott County by

      19      stipulation that presented to the Court on November 22nd.

      20      There have been no further responses.            The overview of the

      21      resolution is essentially that the motion is withdrawn

      22      without prejudice allowing time for Scott County to see how

      23      the plan is formulated, believing that with respect to how

      24      the current agreements have shaped up and the expectation of

      25      how the plan will be implemented, that there won't be a need

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       1      for them to pursue their claim in the bankruptcy.           But if

       2      things do not, you know, play out that way, they reserve

       3      their ability to refile their motion with parties saying

       4      that there's any prejudice to them from having waited but

       5      all parties' defenses and positions are preserved as of the

       6      date of the filing of their late claim and can be contested

       7      at a later time should it be needed.

       8                  Unless the Court has any questions on the form of

       9      the stipulation, we would request that the stipulation be

      10      entered.    I'm not sure that I saw counsel for Scott County

      11      among the parties on the line, but Mr. Coxwell for Scott

      12      County did sign the stipulation.

      13                  THE COURT:   Okay.    Does anyone have anything

      14      further to say on this matter?        All right.     I will so order

      15      the stipulation.    This agreement, it appears to me, is one

      16      of many that the mediation has helped along to avoid what

      17      would otherwise be a contested issue.           If in fact the plan

      18      does go forward with the abatement that have -- has been

      19      agreed to by non-governmental entities in other respects is

      20      confirmed, I would assume that since Scott County would not

      21      have its own dollar claim but rather benefit like other

      22      governmental entities and third parties from the expenditure

      23      of the debtor's resources in abatement that motion really

      24      loses much of its, if not all, of its meaning, that is the

      25      motion for the claim to be deemed timely filed similar to

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       1      the treatment of the various class proof of claim motions

       2      that have been adjourned sine die.

       3                  So you can email the stipulation in Word format to

       4      chambers to be so ordered.

       5                  MR. MCCLAMMY:     Thank you very much, Your Honor.

       6      With that, I will turn the podium over to Mr. Robertson who

       7      will be handling agenda item number 2.

       8                  THE COURT:   Okay.

       9                  MR. ROBERTSON:      Good morning, Your Honor.        For the

      10      record, Christopher Robertson, Davis, Polk & Wardwell on

      11      behalf of the debtors.       Can I be heard clearly?

      12                  THE COURT:   Yes.     Fine, thanks.

      13                  MR. ROBERTSON:      Thank you, Your Honor.     This next

      14      three items on the agenda today are related.           They are the

      15      Coventry facility sale motion, the motion to shorten notice

      16      with respect to the sale motion, and the related motion to

      17      seal.   These three motions are unopposed.          We filed a

      18      certificate of no objection with respect to the sale motion

      19      and the motion to seal on Monday the 28th at docket number

      20      1735.   A revised form of sale order which addresses informal

      21      comments from two parties was attached as an exhibit to the

      22      certificate of no objection.

      23                  If I may, Your Honor, very briefly.         Debtor Rhodes

      24      Technologies operates an active pharmaceutical ingredient or

      25      API manufacturing facility in Coventry, Rhode Island.              The

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       1      Coventry facility sale motion describes a proposed

       2      transaction whereby the debtors would sell the Coventry

       3      facility and related assets to an affiliate of Nuramco, LLC

       4      and would enter into a long-term API supply agreement with

       5      Nuramco.

       6                  As described in the Coventry facility sale motion

       7      and the accompanying declaration of Mr. Rafael Schnitzler of

       8      PJT Partners who is present telephonically this morning as

       9      well, the debtors believe that the transaction will provide

      10      the debtors with a stable and secure source of critical APIs

      11      at substantially below current cost, while unburdening their

      12      estates from the costs associated with the ownership and

      13      operation or potential closure of the Coventry facility.

      14                  The debtors conducted an extensive private

      15      marketing and negotiation process and believe that the

      16      proposed transaction represents the best available offer, is

      17      value maximizing, and it's in the best interest of the

      18      debtors and their estates.

      19                  Your Honor, I believe it makes sense to turn to

      20      the motion to shorten, docket number 1875, at this time.

      21      For the reasons set forth in that motion, the debtors

      22      believe that cause exist to have the sale motion heard on

      23      16-days notice and that the notice of the sale motion was

      24      timely and sufficient under the circumstances.            No parties

      25      have objected to the adequacy of notice.            I'm happy to

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       1      address any questions that Your Honor may have, and

       2      otherwise, we respectfully request that the motion to

       3      shorten be granted.

       4                  THE COURT:   Well, on the notice that was given, in

       5      addition to noticing the party of interest under the case

       6      management order, did you provided notice of the motion to

       7      counterparties, to the executory contracts proposed to be

       8      assumed and assigned?

       9                  MR. ROBERTSON:    Your Honor, yes, we did.         We

      10      provided notice to all contract counterparties, all parties

      11      on the parties of interest list.         We also provided notice to

      12      all know claimants of Rhodes Technologies.             We didn't serve

      13      the full, you know, sort of motion and declaration but we

      14      served a notice of hearing.       We also published notice in the

      15      Wall Street Journal.

      16                  THE COURT:   And did you serve governmental

      17      entities that would be affected by the order including the

      18      provisions providing for transfer of authority to

      19      manufacture these products?

      20                  MR. ROBERTSON:    Yes, we did, Your Honor.         We

      21      served notice on all regulatory entities that we believe

      22      have any interest in the Rhodes Tech facility and also on

      23      sort of the major governmental entities listed in the motion

      24      -- DOJ, EA and the like.

      25                  THE COURT:   All right.      Okay.      Does anyone have

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       1      anything to say on the motion to shorten which would shorten

       2      the time for the hearing on this motion by five days?              All

       3      right.      I will grant the motion.       As most of you know unlike

       4      other judges, I normally will not enter these types of

       5      motion to shorten on an ex parte basis if I believe that

       6      there might be a basis -- a good basis -- to shorten.              I'll

       7      schedule the hearing on the motion to shorten for the same

       8      day as the hearing on the request for underlying relief to

       9      give parties and interests an opportunity to say that the

      10      matter doesn't need to be heard on a shortened notice.

      11                    No one has objected here.        Based on my review of

      12      the motion, the motion does establish sufficient cause to

      13      shorten the notice by a handful of days.              So you can email

      14      that order to chambers.

      15                    MR. ROBERTSON:    Thank you, Your Honor.        Turning to

      16      the Coventry facility sale motion and the motion to seal,

      17      rather than belabor the Court with a further recitation of

      18      our papers, I'm happy to address any questions that Your

      19      Honor may have.      Otherwise, as these motions are unopposed,

      20      we would respectfully request that each be granted.

      21                    THE COURT:   Okay.    Well, let me deal with the

      22      sealing motion first.       Does anyone have anything to say on

      23      it, including the U.S. Trustee?          Okay.

      24                    I have reviewed the redacted and unredacted motion

      25      and based on that review coupled with the absence of an

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       1      objection, I've concluded that the limited redactions that

       2      are sought here are consistent with Section 107(b) of the

       3      bankruptcy code and Rule 9018.          They're targeted directly at

       4      what would appear to me to be properly protected

       5      confidential commercial information that if disclosed would

       6      be detrimental to the debtor's business and the ongoing

       7      relationship with the purchaser.           So I'll grant the motion

       8      to redact and to file the redacted version under seal.

       9                    As far as the underlying motion is concerned,

      10      you've answered my question on notice.                I want to focus on

      11      the closing date.      When do the parties contemplate at this

      12      point in the calendar closing this transaction?

      13                    MR. ROBERTSON:    So, Your Honor, the APA provides

      14      that the closing date cannot be before January 1st of next

      15      year without the consent of the parties and my understanding

      16      is that the target closing date is on or around January 1.

      17                    THE COURT:   Okay.    And in the meantime, the

      18      parties are working on a transition services agreement or

      19      working under one?

      20                    MR. ROBERTSON:    They are working on the TSI.

      21      That's correct.

      22                    THE COURT:   Okay.    And there have no glitches with

      23      that so far?

      24                    MR. ROBERTSON:    None that I'm aware of, Your

      25      Honor.      Counsel to the purchaser is also on the line if he

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       1      has different views but none that I'm aware of.

       2                  THE COURT:   Okay.    And as I understand it,

       3      although the assumption and assignment of contracts would be

       4      approved as part of the order that you would be submitting

       5      to me after this hearing if I grant the motion, you're

       6      actually providing a cure notice and a notice of specific

       7      contracts later in time around the period of the closing

       8      date.   Correct?

       9                  MR. ROBERTSON:    That's correct.       I'm happy to give

      10      more color on that if it's helpful.

      11                  THE COURT:   Okay.    Why don't you go through that?

      12      I just want to make sure I understand the mechanic.           I think

      13      I do, but I just want to make sure how it's supposed to

      14      work.

      15                  MR. ROBERTSON:    Sure.    Certainly.     So there are

      16      three buckets of contracts.       There are the sellers pre-

      17      petition contracts that are eligible to be assumed and

      18      assigned to the purchaser.       There are certain excluded

      19      contracts which just simply cannot be assigned to the

      20      purchaser which are scheduled under the APA.           And there are

      21      post-petition contracts, all of which are going to assigned

      22      to the purchaser.

      23                  The debtor sent the notice attached to Exhibit C

      24      to the sale motion to all counterparties, the pre-petition

      25      contract that could be or might be assumed in the sign, and

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       1      also to all counterparties that post-petition contracts.             So

       2      those are all the contracts of buckets one and three that I

       3      mentioned but not bucket two, the excluded contracts.

       4                  Proposed cure amounts for notice for all pre-

       5      petition contracts, counterparties had until the assumption

       6      of the assignment objection deadline which was September

       7      27th -- I believe that was Sunday -- at 4:00 p.m. to raise

       8      objections the cure amounts.       We received one informal

       9      objection in the amount of about $6,000 which we resolved

      10      with the counterparty.     Those counterparties did, Your

      11      Honor, receive, you know, sort of full notice for an

      12      assumption and assignment of contracts.             They had more than

      13      14 days before today's hearing notice in that regard.

      14                  And then before the closing date, the purchaser

      15      can choose which contracts -- which pre-petition contracts

      16      that are not excluded contracts -- it will take assignment

      17      of.   Within five days or five business days after the

      18      closing date, the debtors will send a notice and file the

      19      notice with the Court informing the counterparties to the

      20      contracts that have been selected as assigned contracts as

      21      their contracts have indeed assumed and assigned.             That's in

      22      paragraph 26 of the proposed order.

      23                  Then there's a second date under the APA which is

      24      called the designation deadline -- 60 days post-closing or

      25      the effective date of the plan if that comes sooner which

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       1      kind of gives the purchaser a second opportunity to

       2      designate contracts that weren't designated as assigned

       3      contracts (indiscernible) closing date as assigned contracts

       4      and they'll be another notice, you know, the same as the

       5      first one, essentially, published -- or I should say filed

       6      with the Court and served on the contract counterparties

       7      notifying them that their contracts have been selected.

       8                  I believe that -- you know, that is an overview of

       9      the process as we see it.

      10                  THE COURT:   Okay.    So to summarize then, the

      11      motion seeks and the order would provide that I am approving

      12      the assumption and assignment of the contracts subject to

      13      the procedure that you just set forth, i.e., it may be that

      14      certain of those contracts would not be assumed, ultimately,

      15      and assigned because the purchaser has the right up to the

      16      designation date to included or exclude from that basket.

      17      But I am making a finding -- you're asking me to based on

      18      the absence of objection after due notice -- that the

      19      purchaser is provided adequate assurance of future

      20      performance and the cure claims have been fixed as

      21      identified by the debtors to the contract counterparties.

      22      Correct?

      23                  MR. ROBERTSON:    That is exactly correct, Your

      24      Honor.

      25                  THE COURT:   All right.      Okay.      All right.   I guess

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       1      one last question.       I think I (indiscernible) too.          There

       2      have been no higher and better offers expressed and there's

       3      no one on the phone who wants to make a higher and better

       4      offer for this set of assets?

       5                  MR. ROBERTSON:      Your Honor, I can confirm that we

       6      have not received any higher or better offers either before

       7      filing the motion or subsequently.            Obviously, you know, I

       8      will allow others to speak up if there's anyone on the

       9      phone.

      10                  THE COURT:     Okay.    All right.        I will grant the

      11      motion approving the sale as set forth in the attached

      12      agreement as well as the (indiscernible) related long-term

      13      API supply agreement as well as authorize the assumption and

      14      assignment or assignment as applicable of the executory

      15      contracts on expired leases as we just discussed.

      16                  The sale motion and supporting declaration by the

      17      debtor's financial advisor Mr. Schnitzler coupled with the

      18      absence of any objection to this motion that has not

      19      resolved by the proposed revised order established that this

      20      is the proper exercise of business judgment in the best

      21      interests of the debtors and their estate -- estates,

      22      including in respect to the seller Rhodes Technologies.

      23      Further, although it's not clear to me that there really are

      24      any interests or liens that were on this property or these

      25      assets that would be protected by 363(f), I'm prepared to

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       1      make the 363(f) findings and enter the 363(f) portion of the

       2      order given the widespread notice and there being no

       3      objection.     Finally, based on the declaration in the motion

       4      and again the fact that the motion's unopposed, I can make

       5      the other findings in the order including to respect of

       6      Section 363(m) assuming of course that the sale actually

       7      closes and the parties go forward with -- in related

       8      transaction for the manufacturing agreement.

       9                   The free and clear provisions of this order are

      10      fine with me given, again, the wide notice and the lack of

      11      objection.     So I have the blacklined proposed order which

      12      was all statements filed by a couple of parties -- contract

      13      parties.     Are there other proposed changes to the order?

      14                   MR. ROBERTSON:    No, Your Honor.       I don't believe

      15      so.

      16                   THE COURT:   Okay.     So you can email that order as

      17      well as the sealing order to chambers and they will be

      18      entered.

      19                   MR. ROBERTSON:    Thank you, Your Honor.       At this

      20      time, I would cede the podium back to Mr. McClammy to

      21      address the preliminary injunction extension motion.

      22                   THE COURT:   Okay.     Very well.

      23                   MR. KAMINETZKY:      Actually, Your Honor, this is

      24      Benjamin Kaminetzky, Davis Polk, and I'll be doing the

      25      preliminary injunction motion.         Can you hear me okay?

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       1                   THE COURT:     I can hear you fine.       I'm going to

       2      suggest that we change the order, though, slightly in the

       3      agenda.     We had down on the agenda the ER physician class

       4      claim motion.     The movant in respect to that motion

       5      yesterday filed a notice of withdrawal of the motion and it

       6      expressed a desire to participate in the mediation or

       7      reservation of rights to try to participate in the

       8      mediation, but given their withdrawal of the motion, I don't

       9      think we should keep people on the phone who were just for

      10      that.     So unless I'm missing something, the withdrawal, to

      11      me, obviously move the motion and I just want to confirm

      12      that on the record before we move to the two contested

      13      matters -- the preliminary injunction and the

      14      (indiscernible) motion.

      15                   MR. KAMINETZKY:        I will turn it back to Mr.

      16      McClammy for that.        Go ahead.

      17                   MR. MCCLAMMY:     Your Honor, this is Jim McClammy

      18      for the debtors.     The debtors would agree with that, but I

      19      understand Mr. Rothstein is probably on the phone for the ER

      20      physician and if there's anything to address after speaks I

      21      would be grateful to have the opportunity to do that.

      22                   THE COURT:     Okay.

      23                   MR. ROTHSTEIN:      Your Honor, this is Paul Rothstein

      24      on behalf of Dr. Michael Masiowski.             Just on his behalf now,

      25      we did file last night that notice of withdrawal except as

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       1      to a certain request that was contained in the original

       2      motion.     So from a procedural standpoint, I feel that we

       3      preserve the issue of allowing us to participate in the

       4      mediation if the Court so deems that appropriate.           We think

       5      it's appropriate for Dr. Masiowski to participate for the

       6      following reasons.

       7                   Number one, the hospital's and emergency room

       8      physicians, although a lot of people are not aware of that,

       9      are separate entities.     The emergency room physicians are

      10      the frontline providers.      Given the mediation report in

      11      paragraph number 7 -- and this is my second point -- given

      12      the mediation report, it indicates that right now the

      13      mediation is going into the phase of implementation.           There

      14      is no better person than an emergency room physician to be

      15      able to participate directly with the Court approval in the

      16      implementation of the program.

      17                   Number three, Dr. Masiowski has been an emergency

      18      physician for more than 20 years.         He has dealt with, as we

      19      indicated, opioid related conditions.           He has a significant

      20      knowledge on all the issues related to abatement for opioid

      21      related conditions and having him participate in the actual

      22      implementation program would be an excellent contribution.

      23                   Now, number four as to the issues dealing with

      24      both the debtor in possession and the creditors -- unsecured

      25      creditor committee concern that this may open up a

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       1      floodgate.     We disagree for a number of reasons.          Our

       2      original class claim was filed in June.             Nobody else has

       3      come forward to request what we're requesting as relief.

       4      And most importantly, nobody who would request relief at

       5      this point in time would be able in our perspective to be

       6      able to meet the credentials that we have, and I compare

       7      this the education context.       My wife who happens to have a

       8      doctorate in education is a retired educator who has taught

       9      teachers, who has taught professors how to teach -- when she

      10      was a principal in her situation, the first frontline people

      11      were the teacher and here, the first frontline people are

      12      the ER, just as she would always be consulting with them in

      13      order to make sure that the education of the student is

      14      maximized as the teacher is the most critical role, here,

      15      the emergency room physician would play a critical role in

      16      regards to how programs are going to implemented, be able to

      17      present information in a formal way if this Court approves

      18      the participation, where we know that administrative issues

      19      are going to be dealt with independently from the hospital

      20      because the emergency room physician, Dr. Masiowski, has the

      21      knowledge and the expertise to do that.

      22                   So we don't feel it's duplicative.          We don't feel

      23      that it's excessive.     We don't feel that we're just a johnny

      24      come lately, given where the mediation is.             The mediation

      25      had said that everything was done.          The implementation was

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       1      done and so forth and so on.       Obviously, we want to be here

       2      now.   We're not requesting a reallocation of any resources.

       3      That was the guts of the mediation.          We understand the based

       4      on when our papers were filed, we were not able to

       5      participate because we came in too late and that's why we

       6      withdrew the motion.     We were convinced of that by the

       7      committee along with debtors in possession.          But we feel

       8      that this narrow request is appropriate and is going to help

       9      in terms of implementing the program through this Court.

      10                  That's all I have to say.

      11                  THE COURT:   Okay.    Well, the withdrawal is not

      12      conditioned on my granting that request, though.          Correct?

      13                  MR. ROTHSTEIN:    That's correct.

      14                  THE COURT:   Okay.    I am not going to grant that

      15      request for the following reasons.          First, the mediation or

      16      at least the allocation mediation was scheduled for a set

      17      time and in fact that time is supposed to expire under the

      18      mediation order today, the 30th September.          The parties to

      19      the mediation had engaged in that mediation over months.             To

      20      bring a new party into it at this point, I believe, is not

      21      appropriate.    I also believe that you are misreading the

      22      mediation report which discusses and actually uses the word

      23      implementation once in paragraph 4 where the mediators state

      24      that the NAACP, whom I did, on a consensual basis, with all

      25      the parties to the mediation and with the agreement of the

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       1      mediators, weeks ago, belatedly include in the mediation as

       2      a non-claimant in the case but with its unique position in

       3      our society -- again, the mediation report states, quotes,

       4      the NAACP and the non-federal public claimants are also

       5      committed to continuing to engage regarding concerns about

       6      the equitable implementation of the abatement program in

       7      each state.    This discussion has not ended and will

       8      continue.

       9                  The mediators then say that they also will

      10      continue to try to negotiate with the public school

      11      districts and will seek a resolution between the public

      12      school district and the non-federal government entities.

      13      Again, that group joined a little bit later, although,

      14      again, several weeks ago.      But I think to add another party

      15      to the mediation at this point given the state of the

      16      mediation is not appropriate.

      17                  On the other hand, I will note two things.        First,

      18      although your client has a self-sustaining ER practice, the

      19      hospitals also have emergency rooms and should be sensitive

      20      to the concerns of abatement in the emergency room context.

      21      Secondly, there is nothing to stop your client from coming

      22      up with a list of what he believes are improper abatement

      23      terms of procedures and suggest those to the hospital's

      24      group or the creditor's committee and if they make sense,

      25      I'm sure they get a hearing.

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       1                  But I don't want to open up again to a new party

       2      of one at this point a remarkably successful and

       3      comprehensive mediation that took place over months at

       4      significant cost to the estate and that resulted in

       5      significant benefit to the estate.          So I'm not by any means

       6      denigrating your client or the work that he does.           I just

       7      think that he needs to make his concerns known in a

       8      different way, not in a formal mediation.           And I suggest

       9      that that way be communicating with the hospital's group and

      10      the official creditor's (indiscernible).

      11                  So why don't we turn, then, back to the motion to

      12      extend the preliminary injunction.

      13                  MR. KAMINETZKY:    Thank you, Your Honor.       Once

      14      again, this is, if it please the Court, Benjamin Kaminetzky

      15      from Davis, Polk & Wardwell on behalf of the

      16      (indiscernible).    Can you hear me clearly?

      17                  THE COURT:   Yes, although I'm getting a little bit

      18      of feedback so again I'm going to ask people who are --

      19      whose phones are not mute, put them on mute so that we don't

      20      get an echo or side noises.

      21                  MR. KAMINETZKY:    So I'll address the debtor's

      22      motion to extend the preliminary injunction until March 1st,

      23      2021.

      24                  Your Honor, three objections were filed.         I think

      25      it's fair to characterize two of those objections as largely

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       1      pro forma.     A third, by the self-styled ad hoc committee on

       2      accountability unfortunately requires a brief response.

       3                   That said, the debtor's position is fully set

       4      forth in its papers, including the reply brief that we filed

       5      on Monday night.     I know Your Honor has read those papers

       6      carefully so I'll be keeping my opening remarks short and

       7      then end reserve the right to offer any appropriate rebuttal

       8      if necessary.

       9                   Simply put, Your Honor, the case for a preliminary

      10      injunction today is even stronger than it was when the Court

      11      last extended it in March.      The preliminary injunction

      12      halted the value destructive litigation chaos race to the

      13      courthouse that had reigned through the first weeks of

      14      debtor's bankruptcy.     It is the foundation for the orderly,

      15      productive, and cooperative efforts that have led to the

      16      progress made in these cases over the past year, and in

      17      particular, over the past months, and with respect to the

      18      mediation as we've discussing, over the past weeks.          And the

      19      wisdom of granting the preliminary injunction has been

      20      affirmed by Chief Judge MaMahon on appeal.

      21                   Now, Your Honor, just a few of the key

      22      achievements since March 2020 when the injunction was

      23      extended.     They include, number one, as we've been talking

      24      about today, a successful mediation.          As the mediator's

      25      reported, the core constituencies have reached agreement in

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       1      principle that resolved in large part the critically

       2      important issue of allocation of the value of the debtor's

       3      estate, a truly monumental achievement exceeding

       4      expectations.

       5                   Two, the ongoing exhaustive information sharing.

       6      The debtors have continued to produce.              They have produced

       7      millions of pages of documents and due diligence materials

       8      to key creditor constituencies and have published on the

       9      docket year another multi-hundred-page report by the

      10      debtor's special committee detailing, among other things,

      11      non-cash transfers to or for the benefit of the Sacklers.

      12                   Number three, the ongoing searching discovery of

      13      the Sacklers and their related entities.              The Sacklers and

      14      associated entities have now produced over 3 million pages

      15      of discovery and discovery is continuing against them and

      16      those entities.

      17                   Number four, centralization of claims against the

      18      estate.     AS Your Honor's aware, we successfully completed

      19      the debtor's unprecedented noticing plan which resulted in

      20      the filing of approximately 613,000 claims against the

      21      estate.     In addition, there's the ongoing compliance with

      22      the voluntary injunction under the supervision of the

      23      monitor.     The debtors and their professionals continue to

      24      work diligently to address observations and recommendations

      25      contained the monitor's recent reports.

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       1                  Number six, continued engagement with key

       2      constituencies on post-emergent corporate and governance

       3      structures to enable the timely filing of a consensual plan

       4      of reorganization.    And finally, significant progress on

       5      many other important initiatives including securing court

       6      approval to fund HRT's development of the low-cost, over-

       7      the-counter naloxone opioid overdose rescue medication that

       8      has the potential to save many, many lives.

       9                  Now all of the immense and hard-won progress so

      10      far, quite frankly, would likely have impossible with the

      11      protection afforded by the preliminary injunction.         It is

      12      injunction that steered and focused parties with vastly

      13      divergent interests towards a value maximizing consensual

      14      resolution of the debtor's Chapter 11 cases.        And extension

      15      of the injunction is now critical to bring this thing home,

      16      to providing the space necessary for all parties and

      17      interests to work to bring these cases to a successful

      18      conclusion.    Hard work surely lays ahead but there can no

      19      doubt at this point that this work can be accomplished only

      20      under the continued protection of an extended preliminary

      21      injunction.

      22                  Now perhaps the most telling proof of this Court's

      23      wisdom in entering the initial preliminary injunction last

      24      year and extending it in March is that the claimants

      25      continues to be largely in agreement that the preliminary

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       1      injunction should be extended today.          No one -- no one --

       2      has objected to the continuation of the preliminary

       3      injunction with respect to the debtors.

       4                  No one has objected to the continuation of the

       5      preliminary injunction with respect to any of the related

       6      parties except for certain members of the Sackler family.

       7      And the vast majority of parties and interests have not

       8      objected to the extension of injunction even as to those

       9      members of the Sackler families.         This broad consensus is no

      10      doubt a reflection of the significant time and resources

      11      that the debtors and many other estate constituencies have

      12      invested in recent months to lay the foundation for success

      13      of these Chapter 11 cases.

      14                  Now, Your Honor, I'd like to turn then briefly to

      15      the three objections that have been filed which in my view

      16      are just as powerful on indicator of the continuing wisdom

      17      of the injunction.     First, the Tennessee plaintiffs filed a

      18      pro forma objection to the continued injunction of their

      19      claims against one member of the Sackler family and that's

      20      Dr. Richard Sackler.     These plaintiffs Your Honor will

      21      recall have objected to the injunction twice before,

      22      including on jurisdictional grounds.          The Tennessee

      23      plaintiffs appealed Your Honor's injunction orders.           Chief

      24      Judge McMahon rejected their arguments and confirmed in a

      25      nearly 40-page opinion back in August.

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       1                   In their short objection, they concede that it is,

       2      in their words, quote, a virtual certainty, unquote, that

       3      this Court will grant debtor's motion to extend and have

       4      also laid their right to present argument at the hearing.

       5      In light of that, I'm going to simply move on to the next

       6      objection.

       7                   Now, the second objection was that of the non-

       8      consenting states.     They filed a two-page limited objection

       9      to the injunction insofar as it bars them from litigating

      10      against nine members of the Sackler families.            In that

      11      pleading, they also objected to the debtor's proposed order

      12      which allowed any party complying with the injunction to

      13      move in December to shorten the injunction as to members of

      14      the Sackler families.     The non-consenting states proposed an

      15      alternative offramp structure for the members of their

      16      group.

      17                   As (indiscernible) matter, Your Honor, I'm happy

      18      to report that the non-consenting states objection to the

      19      form of order has been resolved through discussion and

      20      certain revisions to the proposed order.            The revised

      21      proposed order is attached to my reply declaration as

      22      Exhibit A and we've included a blackline of that order as

      23      Exhibit B.

      24                   The revised proposed order permits those parties

      25      who are bound of are voluntarily abiding by the preliminary

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       1      injunction to move in either December or January to

       2      terminate or shorten the injunction with respect to members

       3      of the Sackler families.      The debtors and it appears most of

       4      the parties and interests believe that the injunction

       5      through March 1, 2021, is fully justified and should be

       6      entered, but this agreed upon procedure provides an

       7      efficient and appropriate mechanism for raising

       8      particularized concerns a party might have with continuing

       9      the injunction as to those certain Sacklers and an

      10      opportunity for the debtors and others to respond to address

      11      any concerns as appropriate before the Court reevaluates

      12      whether an injunction should continue.

      13                  Now, with respect to their objection to extending

      14      the preliminary injunction for the nine Sacklers, the non-

      15      consenting states simply reiterate through incorporation by

      16      reference the arguments they advanced in prior briefing and

      17      assert that the preliminary injunction, quote, interferes

      18      with enforcement of state law and harms the public, unquote.

      19      This Court of course has already carefully weighed and

      20      rejected these arguments multiple time over.

      21                  The non-consenting state have all but conceded

      22      that a continuation of the injunction in its current form is

      23      appropriate and essential to success of these cases.          The

      24      non-consenting states do not grapple with the arguments and

      25      evidence the debtors advance in their moving briefs.          Again,

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       1      it's a four-page pleading and they merely incorporate by

       2      reference.     They do not dispute the preliminary injunction

       3      provided the space necessary for key estate constituencies,

       4      including themselves -- the non-consenting states -- to

       5      obtain extensive discovery from the Sacklers and their

       6      affiliate entities.

       7                   Finally, and this is most telling, the non-

       8      consenting states do not dispute that an extended

       9      preliminary injunction covering the nine Sacklers will be

      10      critical to enabling negotiations and resolution of the

      11      amount and contours of the Sackler contribution to the

      12      debtor's estates.     It simply is inconceivable that

      13      productive discussions with the Sacklers on this critical,

      14      perhaps last, issue can occur with the noise and disruption

      15      and race to the court that the preliminary injunction has

      16      prevented.     For all of the reasons, the non-consenting

      17      states objection should be overruled.

      18                   Finally, the objection of the so-called ad hoc

      19      committee on accountability.       The debtors were frankly taken

      20      aback by this filing and it's hard to know where to begin.

      21      As best as the debtors can tell, the ad hoc committee on

      22      accountability which first appeared in these cases in May

      23      2020 and represent five persons, none of the whom the

      24      debtors, based on the records, believe have ever actually

      25      sued the Sacklers demand that the preliminary injunction be

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       1      modified as to permit an identified and amorphous, quote,

       2      credible and public test of the Sacklers' allegations,

       3      unquote.

       4                  Although admittedly unclear, I assume that this

       5      means what they're looking for is allowing certain civil

       6      litigation through trial of some sort of claims against

       7      members of the Sackler family.        Their arguments are largely

       8      untethered to the applicable legal standards.             To the extent

       9      they actually do address the elements of the preliminary

      10      injunction standard, such as the likelihood of successful

      11      organization, the objection makes a series of arguments

      12      attacking -- what seem to be attacking or making objections

      13      to a plan of reorganization that hasn't been filed yet.

      14                  These arguments are wrong and utterly irrelevant

      15      to the question before the Court today.             There is no plan on

      16      file and indeed, negotiation among the parties, including

      17      members of the Sackler families, must continue before any

      18      plan could be filed.     As the district courts head, the very

      19      fact that settlement discussions are continuing provides

      20      support for the finding that continuing the injunction

      21      increases the likelihood of a successful reorganization.

      22      And that was a quote from page 16 of Judge McMahon's

      23      opinion.    And this is plainly satisfied here.           The ad hoc

      24      committee on accountability does not address and thus

      25      concedes irreparable harm and the balance of equities,

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       1      prongs to the preliminary injunction standard.

       2                   Finally, the remainder of their objection evinces

       3      a basic lack of familiarity with what has transpired in

       4      these Chapter 11 cases, recycles inflammatory arguments that

       5      have been advanced and rejected repeatedly in the past, and

       6      goes so far as to disparage this Court and its motives.            To

       7      be honest, we really didn't know what to do with all of that

       8      and we would perhaps have preferred to just let the

       9      objection or this part of the objection stand and fall on

      10      its own.     But the debtors as stewards of this reorganization

      11      recognize and deeply appreciate that confidence and accurate

      12      information regarding the conduct of these Chapter 11 cases

      13      is important.     For that reason, the debtors attempted in

      14      their reply brief to set the record straight with respect to

      15      many, although by no means all, of the outright falsehoods

      16      contained in the ad hoc committee of accountability's

      17      objection.

      18                   Now, just a subset for today, Your Honor.         The ad

      19      hoc committee on accountability argues that the reason the

      20      preliminary injunction protects the Sacklers is -- and this

      21      is quote -- because they are billionaires and they argue

      22      that there is strong and growing public concern that these

      23      cases are going run not for the benefit of the creditors or

      24      the public but instead for the Sacklers.            The debtors have

      25      proved time and time again that this is utterly and

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       1      absolutely false.    The debtors sought the preliminary

       2      injunction and this Court granted the preliminary injunction

       3      to maximize value and protect the debtors, these Chapter 11

       4      cases, and all parties and interests.

       5                  The preliminary injunction was not sought or

       6      entered to shield members of the Sackler families from

       7      anything.    From day one, the debtors in conjunction with key

       8      constituencies have worked extremely hard to preserve

       9      potentially billions of dollars in value that can be put to

      10      productive use ameliorating the opioid crisis, and the

      11      simple proof of the fact that the preliminary injunction is

      12      intended to protect the debtors, not the Sacklers, is that

      13      many parties who have no interest in protecting the

      14      Sacklers, just the opposite, such as the unsecured creditors

      15      committee, continued to support the injunction.

      16                  They also claim that the preliminary injunction in

      17      these cases have prevented estate constituencies from

      18      getting answers that the justice system would otherwise

      19      provide, and again, I'm quoting, at official committee of

      20      victim representative or an individual examiner is required,

      21      quote, to hold the Sacklers accountable.            These assertions

      22      are also just plain wrong.      Put simply, these Chapter 11

      23      cases have facilitated information sharing in a way that no

      24      civil litigation in diaspora throughout the country could do

      25      or have ever done.

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       1                  The Sacklers and their associated entities, for

       2      example, have already produced about a half-a-million

       3      documents totally 3 million pages in these cases alone.

       4      Thus, the suggestion that another committee or an

       5      independent examiner is somehow necessary in these cases is

       6      almost offensive to the numerous parties, the debtors, the

       7      UCC, and many state's attorney generals in both the

       8      consenting and non-consenting states who have been working

       9      for many, many months and have invested tens of million of

      10      dollars and countless of hours analyzing, assessing, and

      11      looking at potential claims against the Sacklers and

      12      evaluating information relevant to any third-party release

      13      that may be included in an ultimate plan of reorganization.

      14                  And finally, the argument that a public trial is

      15      necessary to find, quote, answers or to be transparent has

      16      been rejected multiple times for good reason.         First, the

      17      proof is what has happened in this case to date.         The

      18      parties have obtained in discovery these cases much more

      19      than they could have obtained in civil litigation.         Ending

      20      the injunction and restarting the civil litigation would

      21      actually be a huge step backwards in transparency and

      22      accountability.

      23                  Second, as this Court has recognized, it hardly

      24      follows that the outcome of a public trial will resoundingly

      25      be accepted as, quote, the truth.         Your Honor pointed to the

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       1      Triangle Shirtwaist Factory fire trial and the Chicago Black

       2      Socks trial as examples, and I'm sure we can think of highly

       3      public and frankly highly political trials where reasonable

       4      people continued to disagree about whether the verdict was

       5      correct or just.

       6                  And third, the outcome of a trial is always

       7      uncertain, as Your Honor also notes last year.          Injunction

       8      preserves the estate value by allowing the parties to

       9      continue to conduct discovery regarding estate or other

      10      claims against the Sacklers and continued to explore the

      11      parties can reach a largely consensual negotiated resolution

      12      of such claims.

      13                  I will address just one other assertion.        The ad

      14      hoc committee on accountability says that -- and this is a

      15      quote -- it appears that the Court has placed a thumb on the

      16      scale in favor of the Sacklers.        This assertion is

      17      absolutely false and inappropriate.          Far from placing a

      18      thumb on the scale in favor of the Sacklers, the Court has

      19      repeatedly emphasized that the Sacklers are not getting a

      20      free pass in these Chapter 11 cases.          The Court has also

      21      made clear the expectation that the debtors, UCC, and others

      22      will be doing the utmost to maximize the value of the

      23      debtor's estates and distribute and agree on a reasonable

      24      allocation of how it is to be distributed.          That's a quote

      25      from Your Honor from the March 18th hearing.          The debtors

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       1      correct a number of other mischaracterization or outright

       2      falsehood as to the Court's observation and ruling their

       3      reply brief.

       4                  Let me conclude where I began.          All of the success

       5      I have mentioned have been made possible in large part by

       6      the wrested from the value destruction litigation free-for-

       7      all afforded by the preliminary injunction.            These cases,

       8      however, are now entering what will likely prove to be

       9      decisive phase.    There's absolutely no reason today to alter

      10      what has been the status quo for a year now and every reason

      11      to keep the injunction in place through March 1st, 2021.

      12                  With that, unless the Court has any questions, I'm

      13      happy to turn the podium over.        I'm not sure -- Your Honor,

      14      who would you like to hear from next?           Would it be those

      15      supporting the injunction or would it be Mr. Troop?

      16                  THE COURT:   I think it probably makes sense to

      17      hear from the non-consenting states depending on -- and then

      18      the other objector -- depending on how that goes.            I'm happy

      19      to hear from those who support the injunction in reply, but

      20      I think I should hear from the objectors at this time.

      21                  MR. TROOP:   Thank you, Your Honor.         This is Andrew

      22      Troop from Pillsbury, Winthrop, Shaw, Pittman.            Your Honor,

      23      I am relegated to my cell today so I hope that you're able

      24      to hear me clearly.

      25                  THE COURT:   You're coming through clearly.

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       1      Thanks.

       2                  MR. TROOP:   Thank you, Your Honor.     Your Honor, I

       3      find it interesting, at best, that the non-consenting states

       4      get hoisted by Mr. Kaminetzky for being efficient and

       5      focused in connection with both this case.

       6                  The bottom line when you strip everything away

       7      from Mr. Kaminetzky's position and arguments is that there

       8      is a strong belief by the debtors that it is impossible vis-

       9      à-vis the Sacklers for other parties and interests and

      10      frankly the Sacklers to walk and chew gum at the same time.

      11      And they draw the conclusion that, but for the cessation of

      12      litigation, there would have not been or could not have been

      13      success, progress -- pick whatever word Mr. Kaminetzky used

      14      -- in terms of where we've gotten today.

      15                  Almost a year ago, Your Honor, you and I have a

      16      colloquy about the effect of the obligation of parties and

      17      interests to participate in good faith in the Chapter 11

      18      process.    And I told you then and I tell you now, that the

      19      non-consenting states would have and will continue to do so

      20      and would have will, continue to do so whether or not there

      21      is litigation proceeding against the Sacklers in recognition

      22      of the particular interests of state's sovereigns with

      23      regard to the advancement, protection, prosecution of their

      24      state laws.

      25                  I've recognized, Your Honor, that the results of

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       1      doing so are uncertain, but as I've said before, the value

       2      from doing so is not merely economic, and it is reflective

       3      of the responsibility that states have to their citizens

       4      with regard to their own laws, their own police power

       5      actions, and the like.     And those arguments, Your Honor, are

       6      primarily legal arguments.      They are arguments that we have

       7      briefed before and there was no reason to burden anyone --

       8      although in this virtual world, I can't say the trees that

       9      would have killed to do so -- but with the hundreds of pages

      10      of briefing that has been carried before.

      11                   The issue raised by Mr. Kaminetzky with regard to

      12      the side-by-side discovery that is going on in the Chapter

      13      11 cases with regard to the Sacklers.           I note only the

      14      following, Your Honor, which is that their process vis-à-vis

      15      the Sacklers and as you -- you may not have read them yet.

      16      I wouldn't expect you to -- but the motions that were filed

      17      last night by the creditor's committee with regard to a

      18      variety of objections, exceptions, privileges being

      19      asserted, not only vis-à-vis by the Sacklers but in this

      20      case the debtors with regard to discovery demonstrates that

      21      that process is not an easy one or one that is even close to

      22      done.   And it's one that is not going to be easily

      23      completed.     I simply note that since an understanding was

      24      reached about the next phase of mediation with the Sacklers,

      25      somewhere between four or six scheduled depositions by

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       1      Sackler-side deponents have -- we've received notice that

       2      they can no longer go forward in the next month and they

       3      need to continued.

       4                  So the power of continued litigation is, in my

       5      opinion as I've expressed before, clear, but being

       6      realistic, Your Honor, which is what I think you above -- I

       7      won't say above all else -- but equally have cautioned and

       8      urged all of us to be in connection with our approach to

       9      litigating issue before you, did result in our engagement as

      10      Mr. Kaminetzky reported, talking specifically about the

      11      mechanics that have been set in place for the continuation

      12      of voluntary compliance not enjoined compliance by the non-

      13      consenting states and potentially others and we have in that

      14      regard, reached an acceptable understanding with the

      15      debtors, demonstrating, I think, precisely, Your Honor, that

      16      the non-consenting states absolutely can walk and chew gum

      17      at the same time.

      18                  So, Your Honor, I could go into more detail but I

      19      think the points are clear.       The idea that we would object

      20      and preserve our objections in connection with the request

      21      also was not a possibility.       Our objections are preserved.

      22      Our ability to appeal is preserved should we exercise the

      23      offramps.    And we have, as we did back in March, recognized

      24      the -- and accepted -- the length of the extension on a

      25      voluntary basis, vis-à-vis the debtors, and have focused in

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       1      on the Sacklers who are a different category of issues,

       2      concerns and, frankly, Your Honor, could be separated from

       3      the debtor's reorganization plans and still provide for a

       4      fruitful discussion with the debtors on their own

       5      reorganization.

       6                  So, Your Honor, unless you have any specific

       7      questions for me, that's all I have today.

       8                  THE COURT:   Okay.    Thank you.        Okay.

       9                  MR. QUINN:   Your Honor --

      10                  THE COURT:   Why don't I hear from Mr. Quinn, I

      11      think it is.

      12                  MR. QUINN:   Thank you, Your Honor.             Good morning.

      13      This is Michael of Quinn of Eisenberg and Baum for the ad

      14      hoc committee on accountability.

      15                  In listening to the debtors speak -- I'm a bit

      16      remiss in saying it -- but it made me think of a quote from

      17      Ronald Reagan.    Trust but verify.       In its current form, the

      18      debtors have failed to sustain their burden to establish

      19      that the preliminary injunction promotes reorganization and

      20      the public interest.     Unless the debtors can propose a

      21      mechanism to provide a public and credible test of the

      22      Sackler allegations, the preliminary injunction to be

      23      modified for the following two reasons.

      24                  First, because there will be public or credible

      25      way to test the allegations against the Sacklers, it's not

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       1      clear how any disclosure statement can satisfy the adequate

       2      information standard of Section 1125 or that the plan can

       3      satisfy the best interest of creditor's test of 1129.          All

       4      of the negotiations and discovery that the debtor talked

       5      about -- the millions of documents, the depositions -- made

       6      be laudable but it's entirely beside the point.         They are

       7      done in secret and in great part focus on questions about

       8      estate claims and the Sackler's credit worthiness, none of

       9      which are at issue here.

      10                  We're not saying, too, as the debtor suggests that

      11      full trials or more examiners or yet another committee is

      12      necessary to this case.     We brought them up as examples that

      13      -- as ways that other courts have addressed our concerns in

      14      other mass tort cases.     Regardless, it's tough pill to

      15      swallow to say that we stand by and wait patiently for a

      16      plan in order to receive information on the Sackler

      17      allegations.    Based on the current schedule --

      18                  THE COURT:   Isn't that what normally happens in

      19      Chapter 11 cases when there are significant settlements

      20      being negotiated?

      21                  MR. QUINN:   Well, the issue, Your Honor, is that

      22      this isn't a normal Chapter 11 case.

      23                  THE COURT:   Well, how else would one do it?       I

      24      mean, that is the mechanism in Chapter 11 and in fact that

      25      is what a disclosure statement and a 9019 motion are for.

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       1      That --

       2                   MR. QUINN:   Your Honor, we're going to welcome --

       3      excuse me, Your Honor.      We will welcome a disclosure

       4      statement.     Our issue is being able to verify the disclosure

       5      statement and we're -- all we're hoping --

       6                   THE COURT:   You have the ability to take discovery

       7      in the context of a motion for approval in this voter

       8      statement or a request for confirmation of a plan.            That's -

       9      - those are both contested matters that you have a right to

      10      take discovery on if you want to.

      11                   MR. QUINN:   Well, I appreciate, Your Honor, and

      12      we'll reserve our right to do that in the --

      13                   THE COURT:   Well, what you said earlier suggests

      14      that you didn't understand that so I wanted to make clear

      15      you have that right.

      16                   MR. QUINN:   Thank you.

      17                   THE COURT:   Okay.

      18                   MR. QUINN:   May I continue?

      19                   THE COURT:   Go ahead.

      20                   MR. QUINN:   Based on the current schedule, we

      21      recognize that a plan is due shortly.            We are not to try to

      22      disrupt this schedule.      We do, however, question whether

      23      parties can complete discovery, analyze that discovery, and

      24      negotiate a resolution based on that analysis in such a

      25      short period of time.

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       1                    Additionally, any preliminary injunction that

       2      makes it impossible to have a public and credible test to

       3      the Sackler allegations cannot be in public interests.          We

       4      certainly appreciate that in the debtor's reply they've

       5      clarified the current injunction applies only the civil

       6      cases.      The form of order they submitted, however, is not so

       7      limited.      It provides that the Court will enjoin the

       8      governmental defendants and private defendants from

       9      commencement or continuation of their active judicial

      10      administrative or other actions or proceedings and that

      11      commencement or continuation of other actions alleging

      12      substantially similar facts or cause of action.         We take the

      13      debtor's replay to mean that they will submit a revised and

      14      corrected order to this Court that specifically shows that

      15      these are -- this injunction is related only to civil

      16      claims.

      17                    This clarification -- and we appreciate it --

      18      hardly addresses the core public interest concern here which

      19      is there's a -- that the preliminary injunction in its

      20      current form makes it impossible for -- to be transparent

      21      about Sackler allegations in any legally actionable way.             We

      22      understand that the Sackler firmly dispute having any

      23      liability.      We also know that they've lost two motions to

      24      dismiss.      We're not here today, Your Honor, to address

      25      whether the Sacklers are liable, only that there will never

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       1      be a true way for anyone other than the small group of

       2      insiders to this case to know the truth.

       3                  Thank you, Your Honor.

       4                  THE COURT:   Can I interrupt you there?       You

       5      understand --

       6                  MR. QUINN:   Sure.

       7                  THE COURT:   -- that what you refer to as the small

       8      group of insiders include the attorney generals from 48

       9      states, representatives of thousands of governmental

      10      entities, and a official creditors committee.          It's broadly

      11      based.

      12                  MR. QUINN:   Yes, Your Honor, and I appreciate the

      13      hard work that each of these groups is doing, and I no doubt

      14      respect of these groups, however, my issue is that there's

      15      no information to personal injury, wrongful death-type

      16      creditors to evaluate these claims.

      17                  THE COURT:   You understand that thousands of

      18      personal injury claimants engaged in the mediation through

      19      several capable lawyers and law firms?

      20                  MR. QUINN:   Yes, Your Honor, I do understand that.

      21      And as I believe the creditors committee approached me and

      22      asked if I would sign the voluntary confidential order -- I

      23      don't think those clients or their representatives will be

      24      able to get the information either.          I think their lawyers

      25      are able to -- it's like for the lawyers to be able to see,

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       1      but they can't transmit that information to creditors to

       2      actually vote whether to -- you know, to confirm the plan.

       3                    THE COURT:    do you have anything more to say?          You

       4      can continue.

       5                    MR. QUINN:    Well, I think that's it, Your Honor.

       6      I appreciate it.

       7                    THE COURT:    Okay.    Very well.        So I don't know if

       8      anyone else has anything to say on this.                Mr. Kaminetzky, I

       9      don't know if you want to respond.

      10                    MR. JOSEPH:    Well, Your Honor -- this is Gregory

      11      Joseph.      May I just respond briefly to a couple of points

      12      that were made in the argument?

      13                    THE COURT:    Okay.

      14                    MR. JOSEPH:    Mr. Troop mistakenly said that there

      15      are four to six depositions that are not going forward in

      16      the next month.      The fact is that I'm aware of -- that for

      17      three of the five, all have been offered dates in October.

      18      One of the witnesses had a stroke and was delayed by a

      19      month.      Another's a medical family issue for counsel, but

      20      everything is still going forward quickly.

      21                    The last lawyer's suggestion that depositions do

      22      not address all claims and they're focused on issues like

      23      location of assets is false.          Three of our depositions have

      24      been taken, starting in August, two on the A side have been

      25      taken.      The non-consenting states question all those and

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       1      both the UCC and non-consenting states go into what the last

       2      lawyer would refer as the merits of the case.

       3                  Thank you, Your Honor.       I just wanted to make sure

       4      the factual record was clear.

       5                  THE COURT:   Okay.

       6                  MR. KAMINETZKY:      Your Honor, very briefly.     This

       7      is Ben Kaminetzky in from Davis Polk.           Just a few points.

       8      Just with respect to Mr. Troop's comments about walking and

       9      chewing gum at the same time, Mr. Troop did not say that --

      10      and did not deny -- that more discovery has happened here

      11      than could ever have possibly had in connection with any

      12      amount of civil litigation.        He also, Your Honor -- I mean,

      13      just logic dictates that it's extraordinarily unlikely that

      14      the Sacklers would continue to provide the diligence that

      15      they're providing in these case while litigating against the

      16      -- you know, the non-consenting states, and, clearly, when

      17      the non-consenting states have -- the stay would be lifted

      18      with respect to them, the consenting states would also have

      19      to jump in.    It's extraordinarily unlikely that having 50

      20      state litigations or 48 state litigations against the

      21      Sacklers wouldn't delay, perhaps for a significant amount of

      22      time if not year or decades, the resolution of these Chapter

      23      11 cases.

      24                  What's more, Your Honor, once this (indiscernible)

      25      of litigation, as Your Honor knows, 2004 discovery is no

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       1      longer appropriate so that would all grind to a halt which

       2      is the information sharing mechanism that's being employed

       3      in this case.

       4                   Clearly, the -- again, just to underscore, the

       5      amount of information that's being provided in this case --

       6      not only the amount but the type of information that's being

       7      provided by the Sacklers in these cases is extraordinary and

       8      could never by provided in civil litigation.        Just, for

       9      example, the Sacklers are offering discovery and have given

      10      discovery about the nature of their wealth, the nature of

      11      their assets overseas.     We even had a deposition in

      12      Australia.     None of that could possibly ever happen in civil

      13      litigation.     And one final point, Your Honor, is that all of

      14      -- we've talked a lot about the mediation and about the term

      15      sheets.     Your Honor will note that all of the term sheets,

      16      all of the individual deals that were struck with the

      17      private side are all contingent upon a final deal with the

      18      Sacklers and Sackler participation.

      19                   It is just certain -- simply incredible to believe

      20      that renewed litigation by the entire country of -- by the

      21      attorney generals of all the states -- wouldn't severely,

      22      severely undermine, if not completely kill, those deals that

      23      we have and set us back to square one with respect to the

      24      private sides.

      25                   Finally, let me just turn to the ad hoc committee.

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       1      I'm not quite sure what to say because it doesn't seem like

       2      any of what they're talking about has anything to do with

       3      the preliminary injunction.       It seems like they're launching

       4      a objection to a disclosure statement that hasn't been

       5      released, plan that hasn't been proposed, and actually, what

       6      they're mostly talking about is they're trying to mount a

       7      belated objection to the protective order that was entered

       8      in this case.

       9                  I'm not quite sure what they envision, but to --

      10      they seem to conceive of a situation where discovery and

      11      litigation is not done by professionals and is not done by

      12      the UCC, the non-consenting states, and all of the groups

      13      here that are involved and inside the protective order and

      14      have worked diligently for hundreds of thousands of hours

      15      and for -- costing millions of dollars to these states --

      16      but somehow that the entire world should be privy to every

      17      deposition, to every document that's been produced.          It's

      18      just simply not the way things work.

      19                  It couldn't work that way.        And the attempt to

      20      somehow disparage the work of the UCC and the attorney

      21      generals and to suggest that the Sacklers are getting some

      22      sort of free pass, and absent them being satisfied at the

      23      pace of discovery and them being satisfied by seeing

      24      absolutely every document or deposition that has been

      25      produced in this case, is simply inconceivable.

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       1                   So with that, Your Honor, I will pause.

       2                   THE COURT:   Okay.

       3                   MR. ECKSTEIN:   Your Honor?

       4                   MAN:   Go ahead, Ken.     Sorry, (indiscernible).

       5                   MR. ECKSTEIN:   No problem.       No problem.     Your

       6      Honor, this is Ken Eckstein of Kramer, Levin.              If it's

       7      appropriate, I can -- I have some brief remarks I'd like to

       8      make on this motion.

       9                   THE COURT:   Okay.    And you should just state who

      10      you're on behalf of for the record.

      11                   MR. ECKSTEIN:   Sure, Your Honor, yes.          Your Honor,

      12      this is Kenneth Eckstein of Kramer, Levin.              I'm appearing on

      13      behalf of the ad hoc committee of consenting states and

      14      governmental entities.

      15                   Your Honor, first, I would like to -- you know, in

      16      connection with our support of the motion, I do want to

      17      acknowledge the remarkable progress that has been achieved

      18      in the case to date and that was described in detail by Mr.

      19      Huebner and describe by Mr. Kaminetzky.              The progress to

      20      date in fact has been extraordinary and we're pleased that

      21      it implements many of the key elements of the term sheet

      22      that the ad hoc committee had agreed to at the outset of

      23      this case.     And we're hopeful that it will be the foundation

      24      for, ultimately, reaching a successful and consensual plan

      25      in this case.

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       1                   We do think that in light of the progress that has

       2      made and in light of the process that the Court has put into

       3      place, both with respect to active and expedited litigation

       4      that is ongoing in the bankruptcy case, as well as the

       5      ongoing mediation process that the Court has recently

       6      endorsed, we think that there is good reason to continue to

       7      have confidence that we have a framework that ultimately

       8      will lead to a successful and near-term plan of

       9      reorganization.

      10                   As Mr. Kaminetzky said, the agreements that were

      11      reached in the mediation all specifically do contemplate

      12      that an ultimate agreement with the Sacklers needs to be a

      13      component of a plan of reorganization and we're very mindful

      14      of the fact that the time is now to address that issue while

      15      the discovery continues actively in the case.         We're also

      16      mindful of that fact that the proposed order contemplates

      17      the opportunity for an offramp on December 15th, if parties

      18      believe that that is appropriate.         And we believe that that

      19      is significant, particularly in light of the expressed

      20      intention by the debtor to propose plan before the end of

      21      this year.     And we think that the deadlines that have been

      22      provided for are consistent with the goal of presenting a

      23      plan expeditiously and for the issues with respect to the

      24      Sacklers' contribution to this case to ultimately be fully

      25      addressed and hopefully resolved within the time frames that

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       1      all parties have specifically targeted.

       2                  So based upon those factors, the ad hoc committee

       3      is supportive of the debtor's request to extend the

       4      injunction.    Thank you, Your Honor.

       5                  THE COURT:   Okay.

       6                  MR. PREIS:   Your Honor, this is Arik Preis from

       7      Akin, Gump on behalf of the creditors committee.          May I be

       8      heard?

       9                  THE COURT:   Sure.    Good morning.

      10                  MR. PREIS:   First of all, can you hear me?

      11                  THE COURT:   Yes, I can hear you fine.       Thank you.

      12                  MR. PREIS:   Thank you.      Your Honor, again, Arik

      13      Preis from Akin, Gump, Strauss, Hauer & Feld on behalf on

      14      the creditors committee.      I'll be very brief.

      15                  As you know, we support the relief -- request for

      16      the preliminary injunction motion.          The underlying reason

      17      for us doing so has not really changed since the beginning

      18      of the case.    I'm not going to reiterate all of the reasons

      19      that we supported it at the beginning of the case.          We

      20      further support the amended proposed form of order.          We

      21      think those changes actually make the order better.

      22                  To be clear, however, we do not endorse for agree

      23      with some of the statements that the debtors made in the

      24      preliminary injunction motion, in their reply brief, or in

      25      Mr. Kaminetzky's statements earlier regarding, among other

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       1      things, discovery.    We hope that that's evident by the two

       2      motions we filed last night that Mr. Troop alluded to.             We

       3      note that the ad hoc group of accountability made some

       4      statements as well.    To the extent that their statements in

       5      some way are read to mean that we are not doing our job,

       6      which frankly includes thing that we know that they're

       7      interested because we've had conversations with them, we

       8      obviously disagree.

       9                  Finally, Your Honor, there was some colloquy about

      10      the schedule regarding five depositions.            Mr. Troop

      11      mentioned something about that and Mr. Joseph attempted to

      12      create -- to correct the record.         I feel the need because we

      13      were going to raise this with you in another context just to

      14      briefly, if you're okay with that, just correct a little bit

      15      about what was said and explain to you why this -- why Mr.

      16      Troop raised it because it does deal with the discovery that

      17      Mr. Kaminetzky had been talking about.

      18                  Specifically, we were all in your chambers on

      19      September 17.    There has been eight business days since then

      20      and since that day, five deponents who had previously agreed

      21      to and were offered dates for depositions have told us that

      22      they're no longer available on the dates previously agreed

      23      or offered, but instead, they either asked to delay their

      24      deposition for a week or a number of weeks or in one

      25      instance, not even offered up certain dates in the future.

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       1      In one instance, as Mr. Joseph correctly point out, it's due

       2      to a health issue of the deponent.            In one instance, it's

       3      due to the health of the father of the lawyer who is

       4      preparing the deponent.       In one instance, it's due to the

       5      deponent's position that he doesn't want to sit for a

       6      deposition while a privilege's motion is pending.            And in

       7      two instances, the individual simply didn't give a reason.

       8                  We're raising this, Your Honor, as we do with a

       9      lot of things in this case when various issues come up

      10      because, frankly, we hope the trend doesn't continue, but if

      11      it does, we're going to be back to Your Honor seeking Your

      12      Honor's assistance.       I know that doesn't really relate to

      13      the preliminary injunction motion, but it does relate in

      14      general to the discovery efforts that Mr. Kaminetzky was

      15      talking about and that Mr. Troop and Mr. Joseph alluded to.

      16                  But again, to round out to where I started, the

      17      creditors committee does support the relief requested in the

      18      preliminary injunction motion.          Thank you, Your Honor.

      19                  THE COURT:     Okay.    Thanks.     Does anyone else wish

      20      to speak?    All right.     I have before me the debtor's motion

      21      to continue the preliminary injunction entered in the early

      22      stages of this case into March of 2021 with an opportunity

      23      to have second look or has a couple of parties on the phone

      24      have said a potential offramp to be heard by the Court in

      25      January with a notice to be filed in December.

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       1                  This is clearly a subject that the Court has dealt

       2      with before in this case.      In fact, I have had now four

       3      hearings on the topic, the first being on October 11, 2019;

       4      second, on November 6, 2019; the third, March 18th, 2020;

       5      and then today's hearing.      Obviously, there was a lot more

       6      time spent on the record, when one reviews the transcripts,

       7      at the earlier hearings.      The underlying bases of the

       8      arguments were more thoroughly set forth, but I rereviewed

       9      all of those transcripts and the briefing in connection with

      10      them, as well as the briefing for today.            In particular,

      11      because two of the objectors -- the Tennessee parties and

      12      the ad hoc committee of non-consenting states -- have in

      13      essence incorporated their arguments from the prior hearings

      14      and their present objections.

      15                  I agree with Mr. Troop who represents the non-

      16      consenting state group that in doing so, neither they or I

      17      in considering their arguments belittle the importance of

      18      these issues or the extent of the record upon which we are

      19      all relying, going back to October of 2019.            These are

      20      important issues and need care in their analysis.

      21                  I also agree with Mr. Troop, as was I think

      22      implicit in my remarks about the mediator's report that was

      23      filed last week, that it appears clear to me that now and

      24      during the course of these cases, these clients have engaged

      25      in these matters in good faith, including in negotiating

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       1      towards a Chapter 11 plan in these cases, and keeping open

       2      the possibility that that plan would include a material

       3      payment by members of the Sackler family, another

       4      consideration provided by them.

       5                    I will address first the objections that relate

       6      back to arguments previously made in these cases, namely the

       7      Tennessee parties, and the non-consenting ad hoc state

       8      committee.      The standard here for issuing the preliminary

       9      injunction is clear and has been clearly stated in these

      10      cases.      The debtor has the burden of establishing four

      11      factors where third parties are be to enjoined and

      12      furtherance of their reorganization effort.

      13                    First, as with any preliminary injunction, they

      14      need to show a likelihood of irreparable harm to them if the

      15      injunction is not issued.       However, irreparable harm in this

      16      context is demonstrated if the actions to be enjoined would

      17      embarrass or delay or otherwise impede the debtor's estate

      18      and reorganization prospects as noted by Chief Judge -- that

      19      is, District Judge -- McMahon in Dunaway v Purdue Pharma,

      20      LP, 2020, U.S. District Lexus 143799, SDNY August 11th,

      21      2020.    See also, In re Lyondell Chemical Flow, 2 B.R. 571,

      22      590 through 91, Bankruptcy SDNY 2009.

      23                    The second circuit is noted that Section 105(a)

      24      which is the statutory basis for such an injunction is to

      25      be, quote, construed literally to enjoin suits that might

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       1      impede the reorganization process, close quote, Lautenberg

       2      Foundation v Pickard, 512 to that appendix 18, 2nd Circ.

       3      2013, citing MacArthur Company v Johns-Manville Corp., 837

       4      F2nd, 89-93, 2nd Circ., 1988.        That literal construction

       5      reflects the underlying principle of preserving the debtor's

       6      estate for the creditors and funneling claims to one

       7      proceeding in the bankruptcy court, ibid. at 94.

       8                  In other cases, the circuit has held that such an

       9      injunction is properly used to enjoin creditors' lawsuit

      10      against third parties where, quote, the injunction plays an

      11      important part of the debtor's reorganization plan, close

      12      quote, FCC v Drexel Burnham Lambert Group, Inc., 960 F2nd

      13      285-293, 2nd Circ., 1992 or where the action to be enjoined,

      14      quote, will have an immediate adverse economic consequence

      15      for the debtor's estate, close quote.           That's now Justice

      16      Sotomayor writing in Queenie Limited v Nygard,

      17      International, 321 F3rd, 282-287, 2nd Circ., 2003.

      18                  Having reviewed an extensive record in the fall of

      19      last year as well in March of this year, I believe the

      20      debtors then established and the record even more so

      21      supports today, a preliminary injunction of the third-party,

      22      non-criminal claims against the parties covered by the

      23      proposed extension of the preliminary injunction, including

      24      as objected to by the Tennessee parties, Dr. Richard Sackler

      25      and is object to by the ad hoc committee of non-consenting

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       1      states, the nine Sackler family members, including Richard

       2      Sackler.    Those parties not objecting otherwise to the

       3      injunction.

       4                  The two objectors' arguments essentially come down

       5      to a view that, notwithstanding the irreparable harm

       6      generally to these estates and the reorganization prospect

       7      of permitting the lawsuits to go forward that the injunction

       8      seeks to continue to enjoin, that progress and that harm

       9      will not take -- can still take place and the harm will not

      10      occur if just the litigation is permitted to proceed against

      11      Richard Sackler and as far as the non-consenting states are

      12      occurred, the other nine Sacklers as well.

      13                  I dealt with this primarily in the March hearing

      14      and I continue to believe there what I believe -- to believe

      15      now what I believed then, which is that the proposed carve-

      16      outs from the injunction would be highly detrimental to the

      17      debtor's estates and the prospect of a confirmable Chapter

      18      11 plan here without unduly harming the governmental

      19      entities.     As I noted than and continue to believe now,

      20      first, the pursuit of the litigation that the Tennessee and

      21      non-consenting states seek necessarily would also involve

      22      the debtors and therefore, sidetrack no only negotiations

      23      with the Sacklers, but also involve the debtors materially

      24      in such litigation.

      25                  And secondly and perhaps even more importantly,

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       1      because those claims are similar to those brought by other

       2      governmental entities, it is clear to me that those other

       3      governmental entities would want to pursue their litigation

       4      as well and my not letting them do that would put them at a

       5      disadvantage, in terms of timing on litigation outcomes, as

       6      well as negotiation leverage in negotiations with the

       7      Sacklers if I let the non-consenting states pursue their

       8      matters.

       9                  Going back to the first point, it is and has been

      10      clear to me since the October 2019 hearing the case that the

      11      multi-jurisdictional, thousands of lawsuits, state of play

      12      without this injunction is not beneficial to these debtors

      13      and to their estates and creditors.          It would result first

      14      in multiplication of costs and discovery as well as a

      15      limitation of the type of discovery that is available and in

      16      place and going forward in this case before me.          Discovery

      17      that has been agreed by the Sacklers in well-negotiated

      18      orders in which not only the official creditors committee

      19      but also the non-consenting states had a major role;

      20      discovery under bankruptcy 2004 which would not available in

      21      non-bankruptcy proceedings; discovery that is well underway

      22      and being supervised by me and that will continue.

      23                  Moreover, it is a clear public interest that

      24      litigation, if possible, be resolved promptly, efficiently,

      25      and by consensus.    From the Supreme Court, the Second

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       1      Circuit to the most local court, that is a fundamental

       2      proposition of our law.     Experienced litigators and

       3      certainly judges know that when parties control litigation

       4      outcome by well-informed negotiations that lead to

       5      agreements, the legal system is working.            They know that

       6      trials are just that -- matters that result in an outcome of

       7      either liable or not liable.       They are not some form of

       8      public truth serum.    No litigator would tell you otherwise.

       9                  So it appears to me that while I agree again with

      10      Mr. Troop that the debtors could confirm a plan in these

      11      cases that did not have a substantial contribution by the

      12      Sacklers, it appears to me to have always been the case and

      13      will continue to be the case that such a plan in which they

      14      do make a material contribution that satisfies the second

      15      circuit's test in In re Metromedia Fiberwork, Inc., 460

      16      F3rd, 136, 2nd Circ., 2005, is not only possible but the

      17      most likely outcome in this case.

      18                  I recognize that the Tennessee counties and the ad

      19      hoc committee of non-consenting states do indeed have an

      20      obligation to their citizens to seek to enforce their laws,

      21      but I'm sure they recognize, being lawyers, that that

      22      obligation is frequently, if not indeed usually, embodied in

      23      a negotiation process rather than a litigation process.              I

      24      have concluded and continue to believe that the continuation

      25      of the injunction as proposed furthers that process and that

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       1      to limit it as suggested would cause irreparable harm to the

       2      estates and creditors and prospect for a successful

       3      reorganization.

       4                  The remarkable achievement by the parties,

       5      including the non-ad hoc -- I'm sorry -- including the ad

       6      hoc committee of non-consenting states in resolving as set

       7      for the mediator's report, the allocation of value in these

       8      cases among creditors, only enhances or increases my view

       9      that the injunction as proposed should be granted.

      10                  The settlements outlined in the mediator's report

      11      are truly a gatekeeping item.        They recognize the importance

      12      of a plan that does resolve claims against and a

      13      contribution by the Sacklers.        They also continue the focus

      14      of these cases on abatement and using the debtors'

      15      resources, including their claims against the Sacklers and

      16      third parties' right against the Sacklers, to resolve as

      17      promptly, efficiently, and with as much value as possible,

      18      the opioid crisis.

      19                  The balance of the harms here also tilts in favor

      20      of the debtors, the second of the analysis.         It is far from

      21      clear to me -- in fact, it would not be the case that if I

      22      carved these particular people out of the preliminary

      23      injunction and left it at that and no other state or

      24      governmental entity would say, me too, which I highly doubt

      25      -- but if that were the case and it was just limited to

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       1      proceeding against nine people in Tennessee and up to 24

       2      other states, I do not believe there would be meaningful

       3      outcome within the period where the parties are pursuing in

       4      good faith a potential negotiated resolution of those claims

       5      for the collective creditor body.

       6                  I will need to recognize that that collective

       7      creditor body, as I've said many times before, could be

       8      almost every person in the United States, given the claims

       9      that have filed, including claims filed by hospitals,

      10      states, governmental entities and the like.

      11                  I know Mr. Troop -- at least maybe just to butter

      12      me up -- enjoys movie references.         Having read the

      13      mediator's report, the image of James Dean telling the

      14      lettuce to grow in East of Eden came to my mind.            The

      15      parties have an incredible opportunity at this moment to

      16      move forward quickly to end these cases and get the money

      17      out to abate the opioid crisis.        They should do it.         And

      18      anything that distracts them from that process is not worth

      19      the candle.    They need to make that effort and they are

      20      making that effort and I encourage them to continue it.

      21                  It is clear to me that the public interest favors

      22      that effort, not just the public interest generally in

      23      settlements, but in getting the value out where it's needed

      24      most which I believe all of the parties who have objected

      25      today understand and will do their best to ensure.            That,

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       1      too, is even more important today as we read time and time

       2      again that the pandemic has hurt those trying to overcome

       3      their addictions more than most.

       4                  I will note that I am fully aware of the discovery

       5      process that has been unfolding in this case.              It is clear

       6      to me that an immense amount of disclosure has occurred --

       7      over 5 million pages, hundreds of thousands of documents,

       8      depositions, et cetera, and it will continue to occur.                 I

       9      will note further that both sides on the discovery process -

      10      - that is the Sackler side and the committee and other party

      11      and interest side on the other hand -- have engaged so far

      12      in that process professionally and efficiently.

      13      Notwithstanding airing discovery issues with me, I have yet

      14      to have to rule on any beyond simply giving guidance to the

      15      parties.    I have made it clear -- crystal clear -- that the

      16      Sacklers will continue to have to provide disclosure in

      17      these cases if they expect to get a release.

      18                            They obviously have rights including

      19      basic rights in respect to privilege and the like and I

      20      don't require them to waive privilege.              But on the other

      21      hand, I don't expect them or third parties in the case who

      22      are also targets of discovery to unduly or improperly delay

      23      any of that discovery.     I also expect the parties to

      24      negotiate, now that we're in this important and critical

      25      second phase of the case.

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       1                   Clearly, this case more than most, but all Chapter

       2      11 cases really are collective proceedings.          There will

       3      always be holdouts in collective proceedings.          They have a

       4      right, if Congress has circumscribed to do so.          That right

       5      includes disclosure so that they can understand what a plan

       6      and disclosure statement are about.          They have a right on a

       7      limited basis, or depending on their willingness to

       8      participate and engage in well-recognized procedures for

       9      participating, to engage in a less-limited basis -- I'm

      10      sorry -- a more full basis in a case.

      11                   Clearly, here, that collective principle exists in

      12      spades.     We have had an extremely active and well

      13      represented and thoughtful official Creditors' Committee.

      14      Then we have every state in the union that has not already

      15      settled with the Sacklers intimately involved in these

      16      cases.

      17                   And we have thousands of other governmental

      18      entities, as well as hundreds, and in some cases thousands,

      19      of third parties who have banded together to make their

      20      views known and have also engaged thoughtfully and in good

      21      faith in the case, including with respect to the private

      22      claimants, other than saying they want to have a resolution

      23      with the Sacklers, not looking to the Sacklers for value.             A

      24      remarkable result in return for what they did negotiate and

      25      receives in the mediation.

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       1                  So it is clear to me that the public interest is

       2      also served by continuation of the preliminary injunction,

       3      including in respect of the nine people, that the two

       4      governmental groups would have the carveout.

       5                  As far as the group of five personal injury

       6      creditors who have also objected, much of what I said

       7      applies to their objection as well.          The objection is

       8      premised on the objectors' belief that there, "needs to be a

       9      public and credible test of claims against the Sacklers."

      10                  During oral argument, counsel for that group

      11      appears to have walked back from the notion that such a

      12      public and credible test would be some sort of test

      13      litigation, in which it appears from the objection the group

      14      itself would not participate in, but would want other

      15      parties to bring and fund, or the appointment of an

      16      examiner.

      17                  I will note that either of those two options

      18      rightly makes little sense in this context.          Where you have

      19      an extremely active group of creditors with an extremely

      20      broad base, there's no reason to have a third-party

      21      examiner, who in any event can only make recommendations and

      22      conclusions, which as many cases where examiners have been

      23      appointed illustrate are often contested by the parties

      24      thereafter as being simply one party's view based on a

      25      nonpublic record, because most of what an examiner is told

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       1      is not public, and is not even a basis for a particular

       2      person commencing litigation.        I'm not sure what else is

       3      left other than that.

       4                  I will note, as did Chief Judge McMahon in the

       5      Purdue opinion that I cited earlier, the Debtors'

       6      commitment, which has been there since the beginning, to

       7      make public the record in this case after a plan is

       8      confirmed and goes effective, will clearly enable the most

       9      light to be shed by people who actually do look for truth,

      10      i.e. writers, scholars and the like.

      11                  As far as whether there should be some sort of

      12      test case, again, the public interest is as much served by a

      13      negotiation process, particularly with the parties involved

      14      in that process are so representational of parties in

      15      interest, as is the case here.

      16                  I really don't know more what I could say about

      17      what else is in the objection by the five creditors.          If

      18      there is any concern about transparency and disclosure in

      19      this case, it appears to have been a self-generated concern

      20      without conducting any due diligence, and in fact, as noted

      21      on the record today, refusing the right to conduct due Joe

      22      legends offered by the Creditors' Committee.        I said on

      23      March 18th and I'll say today again, one can make public

      24      statements using the nonlegal side of one's brain, but in a

      25      courtroom, you have to have more to back it up.

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       1                  So I will grant the motion, having overruled all

       2      three objections, and enter the order that has been revised

       3      in consultation, with among others, and appropriately so,

       4      the ad hoc committee of nonconsenting states.

       5                  But I have not addressed, because I don't believe

       6      I need to, but maybe I should just for the record, the

       7      underlying jurisdictional issue here.           It is clear to me

       8      that I have related to jurisdiction¸ which is all I need,

       9      since this is not a final order but rather a preliminary

      10      injunction, as discussed by Judge McMahon in her Purdue

      11      opinion, and also as set forth in SPV Osus v. UBS AG, 82

      12      F.3d, 333, 340 (2d Cir. 2018), and Picard v.           Fairfield

      13      Greenwich Ltd., 762 F.3d 199, 211 (2d Cir. 2014), as well

      14      as, of course, the truly controlling case here, Celotex

      15      Corp. v. Edwards, 514 U.S. 300 (1994).

      16                  It was also, I believe, clear to me under the case

      17      law, as well as the legislative history to the Bankruptcy

      18      Code, namely the legislative history of Section 362(b)(4)

      19      and (b)(5) (indiscernible) "United States Code Congressional

      20      & Administrative News" (1978) at Page 52, that I clearly

      21      have the power to issue an injunction here, notwithstanding

      22      that enjoined parties include governmental entities.           See,

      23      for example, In re Commonwealth Companies, 913 F.3d 518 (8th

      24      Cir. 1990); In re T.K. Holdings, Inc. and District of

      25      Delaware; In re Ionosphere Clubs, Inc., 111 B.R. 423, 431

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       1      (Bankr. S.D.N.Y. 1990); and Browning v. Navarro, 743 F.2d

       2      !069, 1084 (5th Cir. 1984).

       3                   So, Mr. Kaminetzky, you can email the revised

       4      proposed order to chambers.

       5                   MR. KAMINETZKY:        Thank you, Your Honor.    We will

       6      do so.

       7                   THE COURT:     Okay.

       8                   MR. HUEBNER:     Your Honor, this is Marshall

       9      Huebner.     I guess I will probably take the podium back now,

      10      with Mr. Kaminetzky's consent.           And thank you, Your Honor,

      11      for your ruling on this injunction.             I think that brings us

      12      to the last contested matter for today, the last matter for

      13      today, giving Your Honor's restructuring of the agenda to

      14      deal with the E.R. Physicians' motion first.

      15                   Let me first verify that I can be heard clearly by

      16      the Court?

      17                   THE COURT:     Sorry.     You just cut out, Mr. Huebner.

      18                   MR. HUEBNER:     I was just seeking to verify that I

      19      could be heard clearly --

      20                   THE COURT:     Oh.     Well, yes, you can.    You were so

      21      silent, but that's just because you fell silent.

      22                   MR. HUEBNER:     No worries.       So, Your Honor,

      23      ironically, I probably see fewer movies than maybe anyone on

      24      this entire hearing, but it happens that I do have two movie

      25      references relevant to this case, both from the iconic film,

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       1      "The Adventures of Buckaroo Bonsai", that hopefully will

       2      take us forward in our last few months here.         One is, "The

       3      future begins tomorrow."       And the other is, "Wherever you

       4      go, there you are."      And hopefully, we will all be going

       5      somewhere together, as admonished and directed by the Court,

       6      and will be able at long last to have the future we all hope

       7      for with the right use of these assets to indeed begin.

       8                    With respect to wages, Your Honor, as I alluded to

       9      in the opening, we have resolved huge slugs of objections

      10      that might have been and have a narrowed motion on for

      11      today.      And we're down to two objections to deal with to

      12      that substantially narrowed relief.

      13                    So let me begin by reporting that the very good

      14      news is that, as we set forth in our reply papers, the

      15      Debtors have reached agreement with the UCC, the

      16      nonconsenting state group, the ad hoc committee of

      17      consenting states and other governmental entities, and the

      18      multi-state governmental entities group on all aspects of

      19      the compensation of related relief that are up for today

      20      with respect to the motion at Docket 1674, which is now

      21      limited to the key employee retention plan, the key employee

      22      retention plan, which relates to, at the time of its filing,

      23      the eight insiders of the company that were found to be

      24      insiders at our suggestion and request last year.         Two of

      25      those people have actually resigned since the motion was

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       1      even filed.     So that group of eight is now down to a group

       2      of six.     But that is not on for today.

       3                   We're going to continue to work with those core

       4      creditor groups, both on the six insiders, and then there

       5      are eight other people they still had some questions about.

       6      And so we're going to keep working on that as well, and as

       7      always, you know, in an ideal world, resolve all those

       8      issues consensually before October 28th.

       9                   But at a minimum, I certainly have a high degree

      10      of confidence, given our track record, that we will

      11      substantially narrow any remaining issues as to those few

      12      remaining folks, and that the sort of 608 or so people we're

      13      moving forward on today -- 606, I think -- are fully

      14      consensual, other than an objection by the U.S. Trustee and

      15      an objection by the self-styled committee on accountability,

      16      which as Your Honor knows, it's five individual claimants.

      17                     I don't mean to denigrate them.      I certainly

      18      don't mean to denigrate or minimize any individual's loss,

      19      whether their own, or God forbid, a child or family member.

      20      But, you know, it does bear mention that it is actually five

      21      individual claimants.     It's not a sort of a broad thing as

      22      represented as a committee the way, obviously, that groups

      23      like, you know 24 AG's or, you know, 30 governmental

      24      entities, or thousands of municipalities, or UCC obviously

      25      is.

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       1                    But I think that that context does make a

       2      difference, as does the fact that while we cherish and

       3      respect the U.S. Trustee's office, they are not an economic

       4      creditor in this case.      And given that we have, frankly,

       5      hundreds, actually thousands of governmental entities who

       6      are involved every single day in this case, I think that,

       7      frankly, their consent to today's relief, ultimately, in my

       8      mind at least with -- again, no disrespect to the U.S.

       9      Trustee's office -- weighs rather heavily against both the

      10      lone governmental objection of the U.S. Trustee, which I'll

      11      address on the merits in a couple of minutes.

      12                    So with that introduction, Your Honor, let me note

      13      that, as the Court no doubt is aware, since I again have no

      14      doubt that the Court is sitting there with our 11-inch

      15      binder with many yellow tape flags and post-its on it, much

      16      of this is extremely familiar to Your Honor, as in many ways

      17      it is in fact nearly identical to the relief that we sought

      18      and received from this Court last year.              And I actually

      19      think that, again, with the exception of the U.S. Trustee,

      20      the relief that we are seeking today was not objected to by

      21      any party.

      22                    We also have reached an accommodation with the

      23      Creditors' Committee on an amended set of proposals and

      24      plans.      And I think that with the exception of the CEO,

      25      which is not on for today, there was no objection by any

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       1      other party in the case, other than the U.S. Trustee.

       2                  What we did this year was again put in place

       3      successor programs, as the two declarations made clear, to

       4      the Debtors' very long-standing annual compensation programs

       5      that have been in place, I think, in one case for more than

       6      20 years, and in one case for something like 30 years.          The

       7      specifics of the plan are set forth in the motion and in the

       8      declaration, and so I'm going to be actually relatively

       9      brief, and not sort of retread what I know that the Court,

      10      and I'm sure others, have read closely as well.

      11                  With respect to the evidence for today, Your

      12      Honor, we have confirmed with the U.S. Trustee and the

      13      accountability group that they have agreed that the Debtors'

      14      two supporting declarations, one from John Lowne and the

      15      other from Josephine Gartrell, can come into evidence today.

      16      And I'd like to move their admission.

      17                  I do note that since the KEIP, which is also

      18      covered by their declaration, is not on for today, that the

      19      parties for whom you've extended their objection deadline,

      20      mainly the UCC and the three non-federal governmental

      21      groups, want to -- and the U.S. Trustee as well -- I don't

      22      mean to (indiscernible) on this -- to the extent that they,

      23      in the end, are not at peace with us by the 28th of October

      24      and want to cross-examine the witnesses on the KEIP issues

      25      at that second hearing, we certainly understand that that's

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       1      the case.

       2                  But as to the KERP, there is not going to be any

       3      such cross-examination by agreement of the parties.           And we

       4      would ask that the declarations be moved into evidence as

       5      the Debtors' factual support for the relief being requested.

       6                  THE COURT:     Okay.

       7                  MR. PREIS:     Your Honor --

       8                  THE COURT:     No, let me just make sure -- maybe

       9      this will head off some remarks.           What you're asking me to

      10      admit into evidence are those portions of John Lowne's

      11      declaration, which is dated September 9th, and Josephine

      12      Gartrell's declaration, which is dated September 9 as well,

      13      that pertain to the key employee retention plan, except with

      14      respect to the eight people that are still under discussion,

      15      that would be otherwise within that plan?

      16                  MR. HUEBNER:     It's a little bit different than

      17      that, Your Honor, because we don't actually need to come

      18      back and get a second order, if and as we get the

      19      governmental groups comfortable with their questions about

      20      those eight.    And so that I think that as to the KERP, it's

      21      probably right to say that they're just admitted into

      22      evidence period.

      23                  THE COURT:     All right.

      24                  MR. HUEBNER:     Because if there are questions

      25      remaining about the eight, they'll be raising if they need

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       1      to.

       2                  THE COURT:     But it wouldn't be --

       3                  MR. HUEBNER:     With respect to the KEIP --

       4                  THE COURT:     But it wouldn't be admitted as to the

       5      key employee incentive plan?

       6                  MR. HUEBNER:     Yeah.     They are --

       7                  (Overlapping speakers)

       8                  THE COURT:     As to the (indiscernible) object --

       9                  MR. HUEBNER:     Yeah.     So that's a technical point

      10      that I guess you could (indiscernible).               Mr. Preis and I

      11      were actually emailing each other 20 minutes ago about this

      12      question.    The way I had sort of thought about it -- and I

      13      don't think he disagreed -- was that I don't know that you

      14      can admit only certain paragraphs of the declaration.               So

      15      our thought was that the declarations get admitted into

      16      evidence, period -- not only certain sections or sentences

      17      of them, because some of it is sort of blended, like

      18      attrition and things like that -- but that it's understood

      19      that there will be a right to cross-examine the witnesses on

      20      the KEIP on October 28th, if anybody deems that necessary.

      21                  THE COURT:     Okay.

      22                  MR. HUEBNER:     But if --

      23                  THE COURT:     I understand that now.          So does anyone

      24      have an objection to the declarations being admitted with

      25      that understanding?

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       1                  MR. PREIS:     Your Honor, this is Arik Preis, from

       2      Akin Gump, on behalf of the Committee.                Can I just say one

       3      thing?

       4                  THE COURT:     Sure.

       5                  MR. PREIS:     We don't object to what Mr. Huebner

       6      just said and how you correctly corrected it.                One thing

       7      though, I'm going to guess that at some point Mr. Huebner or

       8      the Debtors are going to mention something about

       9      uncontroverted evidence, and forget to mention that they are

      10      referring only to that portion of the declarations that

      11      regard the KERP.

      12                  THE COURT:     Well, I --

      13                  MR. PREIS:     So just want to make sure --

      14                  THE COURT:     I could tell you, I've read both of

      15      the declarations, of course read the Debtors' honor this

      16      reply, which details the subsequent agreement with the

      17      Committee, the NCSGs, the ad hoc committees, and the MSGE.

      18      So when I reviewed these declarations, I reviewed them

      19      focusing on the key employee retention plan, and as Mr.

      20      Huebner said, the portions that just discuss the Debtors'

      21      business and attrition issues and the like.                So whether

      22      someone inadvertently says uncontroverted, it doesn't really

      23      pertain to anything other than what's before me today.

      24                  MR. PREIS:     Okay.

      25                  MR. HUEBNER:     And Your Honor, now I'll quote --

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       1                  MR. PREIS:     Thank you.

       2                  MR. HUEBNER:     -- after you -- I'll quote the

       3      eighth chapter of Matthew, which is, I guess, "Oh, ye of

       4      little faith."     I in fact would not have done that.          I'm not

       5      sure why someone thought I would.           So I think we're all

       6      good, which is the evidence is actually sort of open with

       7      respect to --

       8                  THE COURT:     Well, I might have said it, so there

       9      you go.

      10                  MR. HUEBNER:     So, all good.        So, anyway, back to

      11      the subject.     So, Your Honor, with that, with those clear

      12      and, I think, understood and agreed caveats, may we formally

      13      move the two declarations into evidence?

      14                  THE COURT:     Yes.   They're admitted as Mr. Lowne's

      15      and Ms. Gartrell's direct testimony.

      16                  (Declarations of John Lowne and Josephine Gartrell

      17      admitted into evidence.)

      18                  MR. HUEBNER:     Very good.       Thank you, Your Honor.

      19      So, Your Honor, as to the substance of the program that is

      20      up for today, which is the KERP, we essentially made three

      21      changes at the request for three categories of changes, at

      22      the request of the UCC and the governmental groups, that can

      23      be worked upon these issues.

      24                  Number one, a reduction in the total amount of the

      25      claimants by a little over $4 million, which is a 40 percent

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       1      or so cut off of the 2023 payable, 2020 (indiscernible).

       2                  Number two, that have asked that we move around

       3      some of the timing on payment and clawback provisions to

       4      make the KERP somewhat more retentive.              You have one payment

       5      that's a little bit later, other payments are a little bit

       6      later, clawbacks still a little bit later in some

       7      circumstances.    It's all laid out in our reply brief.

       8                  And then, three, as requested, actually, by the

       9      creditor groups, not by us, an acceleration of the LTRP

      10      payments that were already largely earned, but in order to

      11      keep them retentive, they're going to be payable in '22 and

      12      '23.   We were asked actually to do those on emergence,

      13      subject to a clawback if the employee leaves without good

      14      reason or is fired for cause, until the originally proposed

      15      payment date.

      16                  So we would propose that they pay essentially, I

      17      think -- and I don’t want to speak for them -- but people

      18      just didn't want the post-emergence company having to make

      19      payments for the pre-emergence period.              And so they asked

      20      that we accelerate them.      In one case, we said that's fine.

      21      But we actually want them to stay retentive, because we

      22      actually think it's very important to keep the right people

      23      here, obviously post-bankruptcy.         And so we added a clawback

      24      in to ensure that that remained an important goal of the

      25      programs, which, frankly, is important to all of us, and of

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       1      course, everyone agreed with that.            And now (indiscernible)

       2      deferral as to the eight people that I talked about before.

       3                  THE COURT:     Do those --

       4                  MR. HUEBNER:     So --

       5                  THE COURT:     Do those -- I'm sorry, just on that

       6      point, on the clawback point -- do those people, if they

       7      left, say a week after the effective date of a plan, would

       8      there be other payments that the company would otherwise owe

       9      them that could be set off against a clawback?

      10                  MR. HUEBNER:     Yeah.     So, it depends, frankly, I

      11      think, on individual -- as probably an individual basis when

      12      exactly they left, when things had been settled up.            You

      13      know, I'm guessing as a general rule, the answer may be no,

      14      because I think on your final day of employment, you know,

      15      assuming another pay cycle finishes after your departure,

      16      you know, VPs are obviously not the key executives, and so

      17      they don't have other things that are due over time.            Again,

      18      the request was not ours to accelerate the payments, but I

      19      think we'll have to look to the clawback as a vehicle for

      20      getting the money back, you know --

      21                  THE COURT:     Right.    Well --

      22                  MR. HUEBNER:     -- should people leave under the

      23      right circumstances or the wrong circumstances.

      24                  THE COURT:     I mean, you still can, I guess,

      25      commence a lawsuit to get it back.

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       1                  MR. HUEBNER:     Correct.      Correct.

       2                  THE COURT:     Right.

       3                  MR. HUEBNER:     And I'll just leave it at that, I

       4      think, for now.

       5                  THE COURT:     Okay.    All right.

       6                  MR. HUEBNER:     So that leaves us with only two

       7      outstanding objections, as I said before.                One from the U.S.

       8      Trustee and one from the five individuals represented by Mr.

       9      Quinn.

      10                  So, Your Honor, in sum, the rejections asked the

      11      Court just to do a wholesale rejection of this important

      12      aspect of the long-standing annual compensation.                They don't

      13      actually really offer either factual or legal support for

      14      this request.     And I also think they sort of sidestep what

      15      is in fact the governing legal standard for this, including

      16      this Court's ruling that there were not one, not two, but

      17      three hearings on analogous issues last years.                Actually,

      18      four, if you count the mini, mini-plan that we did very

      19      early in the case for the six junior folks that we're doing

      20      (indiscernible).

      21                  What the U.S. Trustee's objection I think really

      22      unfairly overlooks is that these are not bankruptcy bonuses.

      23      This is not a second round of bonuses.                This is annual

      24      compensation that has been part of annual compensation

      25      literally for decades.       And so we made this motion for a

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        1      second time in the case because the case has now gone more

        2      than a year and the end of the year approaches.

        3                  And obviously, we could have done something that

        4      would have been very much against the interests of these

        5      estates, which is just simply move all these things into

        6      base salary, pay it over 12 months, not have the ability to

        7      incentivize performance, not have a strong retentive element

        8      of having the payments paid, you know, in some cases well

        9      after the calendar year ends.

       10                  But that actually would have been a terrible idea.

       11      I guess it would have obviated the need for anybody like

       12      (indiscernible) to object, because it wouldn't have had the

       13      word "bonus" attached to it.      But it actually would have

       14      been so much worse for the estate and for the maximization

       15      of value, and for the running of this actually relatively

       16      large and complicated enterprise.

       17                  As Your Honor has recognized several times over

       18      this case and predecessor cases, non-insider compensation

       19      outside the ordinary course -- and there was, by the way, a

       20      strong argument, as I understand, last year that this is

       21      ordinary course.    It's ordinary course because we've been

       22      doing it for decades.    It's ordinary course because many

       23      companies do it.    But we invariably take the more

       24      conservative route and put things out in full so I might

       25      even seek Court approval, and Your Honor has held that these

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        1      things are governed by 503(c)(3), and that that language

        2      essentially incorporates the traditional business judgment

        3      rule set out in Section 363(b).

        4                  And so again, reminiscent of last year, we went

        5      through the Dana II factors at extreme but appropriate

        6      length -- not extreme -- appropriate length in both our

        7      opening papers and our reply papers.         And the Trustee just

        8      doesn't really address that.      In fact, there's a grand total

        9      of about a page and a quarter in their objection actually

       10      about the KERP, and it actually doesn't really cite law,

       11      including the six factors in Dana that we went through in

       12      detail.

       13                  Here in particular, we're not writing on a blank

       14      slate because the Debtors are seeking essentially to

       15      continue an existing program that this Court already ruled,

       16      including overruling the Trustee meets the standard.         And

       17      this year, we have even more evidence than we had last year.

       18                  We've already discussed at length at this hearing

       19      and its predecessors the likelihood of a successful

       20      reorganization, the fact that as Your Honor said, you know,

       21      at a prior relevant hearing, "This process does not happen

       22      overnight."    It certainly does not.       This is a very long and

       23      hard-fought (indiscernible) for all of us, no matter what

       24      our views are about the right outcome here.

       25                  But at the end of the day, we need employee's

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        1      every day, you know, running the corona gauntlet, showing up

        2      at the manufacturing plant, working next to colleagues, and

        3      producing the FDA approved medications and over-the-counter

        4      medications that we sell into the market under a self-

        5      injunction with a highly-respected monitor that we all

        6      agreed on.

        7                   So they're just not bonuses.           As Your Honor noted

        8      last year -- and I'm quoting you again -- this is

        9      "essentially salary with some modifications or risks on

       10      either side, depending on how the employee performs and the

       11      company performs."     December 4, 2019, Page 113, Lines 17-18.

       12                   And so the compensation, as we set forth at

       13      length, is marked.     You know, it may be that the Trustee

       14      gets his sort of percentile thing from thinking about this

       15      as if it were a KERP, on top of TBC, total direct

       16      compensation.     But of course, that's not right because, as

       17      we lay out in some detail, rather than having the AIP and

       18      the LTRP and the KERP and all that together, the KERP

       19      replaces the AIP.     And so, without it, people would be very

       20      substantially undercompensated.

       21                   And as it was last year, it remains true this

       22      year, that Purdue, you know, continues to suffer from

       23      relatively material attrition.        And not only did two of our

       24      eight insiders resign literally since we filed the motion,

       25      which is about three weeks, and that's 25 percent of our

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        1      most senior executives right there, but in addition to them,

        2      as of the time of the filing of the motion, another 85, or

        3      more than 85, have left since the petition date, which is an

        4      annual attrition rate approaching 14 percent.

        5                  And as you might imagine, getting new people into

        6      Purdue Pharma during a pandemic to replace these positions,

        7      many of which, as the Court knows, are you know, technical

        8      people, you know, people with doctorates, people with

        9      expertise, and anti-diversion, all sorts of things like

       10      that, it's very difficult.

       11                  And so again, you know, people sometimes lose

       12      sight of the fact that this is a company with complex vendor

       13      factoring operations that needs to continue to run its

       14      business safely and well for the benefit of all during times

       15      that are, without any possible question, unprecedented.

       16                  And so I'm actually going to, I think, leave the

       17      U.S. Trustee's objection at that, because I think that the

       18      motion and the weight of authority we cite in our papers,

       19      the uncontested evidence as to the KERP is the two

       20      declarations, coupled with the overwhelming creditor

       21      support, you know, probably, I think, leaves me able to say

       22      no more than that on the U.S. Trustee's objection.

       23                  As to the ad hoc committee on accountability, I

       24      would note that there as well, as the Court noted before,

       25      you know, this about applying the facts to the law.         And the

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        1      legal standard is, is it a proper exercise of the business

        2      judgment of the Debtors?     And I should know it is.

        3                  Of course, our papers make clear, this was the

        4      Board of Directors of the Debtors.         The compensation

        5      committee of the Board of Directors, guided by Willis Towers

        6      Watson, you know, one of the sort of premier firms in the

        7      field, and obviously, counsel, and ultimately also

        8      negotiated with the creditor groups that have been with us

        9      on every issue large and small, sometimes in different

       10      chairs, but always with us on the issues with their opinions

       11      across the board.

       12                  What they do instead, unfortunately, is sort of

       13      similar to what they did on the injunction, which is just,

       14      frankly, make a series of extremely sharp and completely

       15      counterfactual and unsupported claims and attacks on the

       16      Debtors.    They seemingly just don't understand, or are

       17      refusing to acknowledge, the changes that have taken place

       18      in the last several years, and that the Debtors, you know,

       19      if they want (indiscernible) -- Purdue and the Sacklers,

       20      like as I think everyone in this case knows, except maybe

       21      seemingly they don't know, it has now been almost two years

       22      since any Sackler held any position at Purdue.

       23                  And this company has been under the very watchful

       24      eye of this Court and the bankruptcy system.         You know, the

       25      detailing or promotion of opioids stopped almost three years

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        1      ago.   We've had a monitor now for moving towards a year.

        2      We've had a 15-page self-injunction, the most intense one

        3      probably on the planet -- I've heard no one correct me when

        4      I've sort of suggested that before -- in place now also.

        5                  So, you know, just attacking the company and

        6      saying that it's just sort of a terrible thing and therefore

        7      nobody should be paid, really just has no basis, and it's

        8      really time, hopefully, for those things to stop.

        9                  But more importantly, if the relief requested were

       10      denied and compensation that hundreds of people, including

       11      rank-and-file people and hourly wage earners and engineers

       12      and technicians and plant operators and anti-diversion

       13      people were all to be told that suddenly they're going to be

       14      making a fraction of both market compensation and a fraction

       15      of the compensation they have come to reasonably rely on

       16      that is reasonable and appropriate, the consequences for the

       17      value that we can deliver to address the opioid epidemic and

       18      the consequences to this case, for example, as Mr.

       19      Kaminetzky said before in the preliminary injunction

       20      context, if "this all falls apart, the private deals all

       21      fall away."

       22                  And if the private deals all fall away, we're back

       23      to hundreds of thousands of filed claims seeking trillions

       24      of dollars of damages that actually would cost billions of

       25      dollars to fully go through and resolve, it would sort of be

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        1      like Lehman, but without the trillion dollars of value that

        2      Lehman actually has.

        3                  We actually have far more claims than Lehman in a

        4      much higher amount than Lehman, and all of those deals are

        5      at risk if the value that we hope to deliver essentially to

        6      the country to ameliorate this epidemic evaporates because,

        7      you know, things like the (indiscernible) of this motion

        8      ultimately lead to a cascade of departures, which leads to

        9      the destruction of the Debtors' business, let alone the harm

       10      to patients from having FDA approved medication sort of

       11      yanked from them, potentially with little to notice, because

       12      we just have to shut down.

       13                  So Your Honor, this is all things you have thought

       14      about many times before in this and other cases.        You

       15      actually rejected claims exactly like this last year, almost

       16      verbatim.    And you actually specifically said on the October

       17      11th hearing at Page 117 to 122 of the transcript, things

       18      like, it would actually be "bad exercise of business

       19      judgment to simply withhold payment."

       20                  Finally, Your Honor, I do want to note that the

       21      proposed order of course pertains, and did from the outset,

       22      the language that was extensively negotiated with multiple

       23      creditor groups, including the dissenting states, the

       24      consenting states, and the UCC last year -- I think Your

       25      Honor actually added some tweaks to it as well -- modified

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        1      from the language that had previously been approved by the

        2      Court in (indiscernible) that provides for safeguards to

        3      address issues with respect to finding out in the future the

        4      employees who got bonuses potentially engaged in this

        5      conduct.    And that language, of course, is right in the

        6      order where it should be.

        7                  And so, Your Honor, I actually will leave it at

        8      that.   You know, again, these are not, in our view, really

        9      sort of bonuses in the way that bonuses sometimes become,

       10      you know, I think very politically charged.        This is really

       11      annual compensation that is thoughtfully designed and,

       12      frankly, withheld until the end of the year and beyond to

       13      make it retentive.

       14                  And as I said, and I'll say it one last time, I

       15      think the overwhelming support we have from groups that as

       16      Your Honor may -- very often do not agree with us on all

       17      topics, or some do and some don't, or some agree and others

       18      disagree bitterly, I think speaks massive volumes about the

       19      extreme, thoughtful, good faith engagement of the Debtors

       20      and how they designed the programs, adjusted the programs,

       21      and thoughtfulness and good faith of the other parties in

       22      working with us to come up with something that everybody

       23      could live with, and address some of their both social and

       24      economic concerns.

       25                  So, Your Honor, that is what I have to say about

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        1      the KERP.     Obviously, as things come up in response to oral

        2      argument of either of the two remaining objectors, I would

        3      ask for the indulgence of a few minutes to address anything

        4      that seems necessary.

        5                  THE COURT:   Okay.    I had a question, and maybe you

        6      can answer it.     Maybe Ms. Cartrell needs to answer it.          I'm

        7      sorry, Gartrell.     Excuse me.    I think I said Cartrell.

        8                  Her declaration at Paragraph 49 has a table, and

        9      it says the aggregate market positioning of the KERP

       10      participants in the aggregate is shown in the table below.

       11      And I'm really focusing on the two boxes at the bottom of

       12      that table.     And my question really goes -- I'm focusing on

       13      the 50th percentile in both of the boxes.           And I'm just

       14      wondering how the agreement negotiated with the UCC and

       15      other parties, particularly the reduction by 4 million,

       16      would change the variance to market numbers for the 50th

       17      percentile?

       18                  MS. GARTRELL:   Your Honor, this is Josephine

       19      Gartrell, from Willis Towers Watson, on behalf of the

       20      Debtors.

       21                  THE COURT:   Yes.

       22                  MS. GARTRELL:   The answer to your question is that

       23      it doesn't change because the $4 million reduction in the

       24      program was a specific reduction in the 2020 grant, which

       25      went from a little over $10 million to, I believe, down to

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        1      about $6 million.    And so this market TDC analysis, when you

        2      see Purdue based plus proposal, takes into consideration the

        3      aggregate base salaries of these two groups, plus the KERP

        4      program itself.

        5                  And then when you see the second box that says

        6      Purdue based plus proposal, plus retention, that reflects

        7      the base salary, plus the KERP, plus the targeted retention

        8      for the subset of employees who would receive that.

        9                  THE COURT:     So, I'm sorry, why isn't the $4

       10      million -- why doesn't it change any of this?

       11                  MS. GARTRELL:     Because the LTRP grant is not

       12      included in the aggregate positioning for TDC analysis.

       13                  THE COURT:     I got it.

       14                  MR. HUEBNER:     Your Honor, let me help for a

       15      second, which may help clear things up.               Because that LTRP

       16      was not due to be paid until 2023, and now it has the

       17      potential of being (indiscernible).            And so the effective

       18      date, it's not compensation that's paid in 2020.               And so

       19      this chart just has different elements in it with respect to

       20      2020 TDC.

       21                  THE COURT:     So this is just 2020?

       22                  MR. HUEBNER:     Ms. Gartrell, please correct me.             I

       23      don't want to misstate why it wasn't in the chart.

       24                  MS. GARTRELL:     That's correct.

       25                  THE COURT:     Okay.    All right.        So I'm right that

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        1      if the midpoint in aggregate market positioning, for

        2      executives, at a low you're 12 percent under at the midpoint

        3      of the market, and the high point for the Purdue based plus

        4      proposal is five percent over 50 percent for the non-

        5      insider, middle management group?

        6                   MS. GARTRELL:     That's correct.

        7                   THE COURT:     Okay.    All right.        And this is based

        8      on other pharmaceutical companies, or companies in Chapter

        9      11?

       10                   MS. GARTRELL:     This is based on Willis Towers

       11      Watson's 2019 pharma survey.          So it's only pharmaceutical

       12      companies.

       13                   THE COURT:     Okay.    So this does not reflect

       14      additional burdens on people in Chapter 11?

       15                   MS. GARTRELL:     It does not.

       16                   THE COURT:     I mean, not burdens, but the pressures

       17      that call people away from employment when they're working

       18      for a Chapter 11 debtor.

       19                   MS. GARTRELL:     That's correct.

       20                   THE COURT:     Okay.    All right.

       21                   MR. HUEBNER:     And Your Honor, in order to be

       22      clear, I mean, there is a lot that we say in our papers that

       23      I'm not belaboring, but I think it goes almost without

       24      saying that working right now at Purdue Pharma in Chapter

       25      11, with you know, at least some uncertainty, to say the

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        1      least, about one's future and the company's ultimate

        2      pathway, it's certainly very different than being at a

        3      healthy, exciting, non-Chapter 11, you know, working on a

        4      COVID vaccine type environment.          And so the motion will be -

        5      - can afford to be substantially below the 50th percentile

        6      and have any hope of a 14 percent very painful attrition

        7      level, not become a torrent that could be extremely

        8      dangerous to the enterprise, that actually speaks for

        9      itself.

       10                  THE COURT:     No, I understand that.     Although, I

       11      would hope that at least a large number of people would want

       12      to see this through to make something truly good happen from

       13      this.

       14                  MR. HUEBNER:     Yes.    And they do, Your Honor.    And

       15      I want to be equally clear about that, which is, you know,

       16      the transformation of Purdue is in fact in no small part

       17      what is keeping, I think, many people at the company -- and

       18      obviously, you know, whatever one's view is, I think there

       19      are very few people who don't want to see a page turned to a

       20      new chapter for this company.          And I think, you know, the

       21      employees are certainly being told and deriving, frankly,

       22      energy and satisfaction and enthusiasm from the fact that,

       23      you know, things like the mediation report I gave earlier

       24      with, you know, an agreement by all acknowledged parties,

       25      that all the assets are going to be used to abate the opioid

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        1      crisis.     That's a huge driver of people getting up in the

        2      morning and sort of covering through the pandemic long

        3      enough to come to work.

        4                   THE COURT:   And then one more question for Ms.

        5      Gartrell.     The Willis Tower survey of pharmaceutical

        6      companies, at one of the earlier hearings you testified that

        7      the relevant companies that you looked at within that survey

        8      comparable in size to Purdue were about 84 companies.             Is

        9      that still the same case for this analysis?

       10                   MS. GARTRELL:   I don't recall the exact number

       11      that was used, but based on the participation rates, I would

       12      say that it's around that same number.

       13                   THE COURT:   Okay.    Great.     Okay.    Those were my

       14      questions.     I'm happy to hear from the U.S. Trustee and from

       15      Mr. Quinn.

       16                   MR. SCHWARTZBERG:     Good afternoon, Your Honor.

       17      Paul Schwartzberg, for the U.S. Trustee's office.

       18                   THE COURT:   Good afternoon.

       19                   MR. SCHWARTZBERG:     Your Honor, I know you have

       20      read the pleadings and I don't want to repeat what's in

       21      them.     And as you can see from our Footnote 1, we understand

       22      that the relief sought here is similar to what was

       23      previously before the Court back in 2019.             But since we were

       24      here before the Court at that time, issues have evolved that

       25      lead us to believe that the payment of the awards are not

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        1      justified at this point.

        2                   Specifically, Your Honor, as you are well aware,

        3      Your Honor had urged the creation of an emergency fund to

        4      help those who are suffering from opioid addictions.

        5      Unfortunately, that was not created, and funds have not yet

        6      gone out to help opioid victims --

        7                   THE COURT:   Well, these people have nothing to do

        8      with that.     That wasn't their decision.

        9                   MR. SCHWARTZBERG:     At the lower level, that's

       10      correct, Your Honor.      But in terms of the facts of the case

       11      --

       12                   THE COURT:   I mean --

       13                   MR. SCHWARTZBERG:     -- if management could focus on

       14      getting funds out to those who are victims of the opioid

       15      epidemic, rather than paying extra awards to --

       16                   THE COURT:   I'm not -- you know, I'm sorry.        This

       17      is just so wrongheaded.      I rarely say this about your

       18      office, but these people, A, are not the decision-makers,

       19      and B, even the decision-makers here for the company are not

       20      responsible for there not being an emergency fund.            It's

       21      just -- it doesn't have any bearing on anything.            And it's

       22      really -- it's just so wrongheaded.           I'm sorry.   I rarely

       23      have this problem, but I really do on this point.            It just

       24      doesn't make any sense to me.

       25                   MR. SCHWARTZBERG:     Then, Your Honor, I'll move on.

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        1      The other issue we brought forth in our objection was the

        2      $8.1 million targeted retention fund, which out of all of

        3      the awards being sought, it's the least arguably

        4      compensation and seems to be an award that from the reading

        5      of the motion seems to be more of a discretionary award.

        6      The method by which it's going to be paid, the amount that's

        7      going to be paid, to whom it's going to be paid, are very

        8      vague and not possible to determine from the motion.           And

        9      based on that, we didn't think that was justified by the

       10      facts and circumstances of the case.

       11                  THE COURT:   Okay.    So are you -- is your office

       12      going to be part of the discussions on the eight people that

       13      the settling parties have carved out of this order?

       14                  MR. SCHWARTZBERG:     Your Honor, we're always happy

       15      to talk to the Debtor or any of the parties on the KEIP, and

       16      we're open to discussions if people would invite us.

       17                  THE COURT:   I mean, the reason I ask this is that,

       18      first, I don't think there's any argument that those people

       19      are insiders.    In fact, they're not insiders.         So they can

       20      be provided with a retention payment.           And the reason I

       21      think that it makes sense to be part of the discussion, as

       22      opposed to just saying I don't know, is that it's a highly

       23      counterproductive exercise to identify public the people who

       24      are so important, people who are not insiders and who are so

       25      important that you need to pay them more to stay, than

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        1      rather to share the information with the economic parties in

        2      interest, who can then double check your analysis.

        3                  To me, this is very similar to the argument that

        4      has been refuted by me a number of times, recently by Judge

        5      Seidel, affirming me in the Windstream case, as well as by

        6      Judge Hoffman, very respected judge from Ohio in the Murray

        7      Energy case, that you have to disclose all of the necessary

        8      vendors in the motion, which ensures that you're going to be

        9      paying more and angering more people than if you had a

       10      process to identify them that has checks and balances within

       11      it.

       12                  So it seems to me that the approach taken by the

       13      Committee and the two ad hoc committees and the governmental

       14      entity committee is the right one, which is we want to do

       15      the due diligence on this and see if there's something we

       16      disagree with the Debtors about, as opposed to laying out

       17      publicly, you know, who the Debtors think they really need

       18      to pay more to keep, which in this context, Congress

       19      expressly permits, than to pay more to keep them, because it

       20      recognized that unless you're feathering your nest, you're

       21      authorized to pay a retention plan.

       22                  So anyway, if you have a concern about that, I

       23      would urge you to be on the call, or at least have a

       24      debrief, as you often do -- I'm not faulting you on this --

       25      you often do have a debrief.      And it's not ready yet.     But I

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        1      urge you to do it, to get it, as opposed to just saying we

        2      don’t know.    Because I think there's a good reason why you

        3      don't publicly disclose this, just as there's a good reason

        4      why the Committee and the other parties in interest said,

        5      well, we want to know more.

        6                  MR. SCHWARTZBERG:     Yes, Your Honor.

        7                  THE COURT:   Okay.    Is there anything else?

        8                  MR. SCHWARTZBERG:     No, Your Honor.

        9                  THE COURT:   Okay.    All right.        Anyone else?

       10                  MR. QUINN:   Your Honor --

       11                  MR. PREIS:   This is our -- sorry.

       12                  THE COURT:   I'm sorry.

       13                  MR. QUINN:   This is Michael Quinn.

       14                  THE COURT:   Go ahead, Mr. Quinn.

       15                  MR. QUINN:   Arik, would you like to go first?

       16                  MR. PREIS:   No, I think probably you should go

       17      first because you're objecting.

       18                  MR. QUINN:   Your Honor, this is Michael Quinn

       19      again, from Eisenberg & Baum, from the ad hoc committee on

       20      accountability.    Our argument here for not authorizing the

       21      KERP is that Purdue should not be granting companywide

       22      bonuses when it's been engaged in multiple crimes.

       23                  This plan, as constructed by the compensation

       24      committee of the Board of Directors, promotes companywide

       25      bonuses, or whatever term the Debtors would like to call

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        1      them, without regard to who it's going to.

        2                   One caveat to that, which the Board approved was

        3      that these bonuses wouldn't go to hourly wage workers.           Six

        4      weeks before they filed their motion for you to approve

        5      these bonuses, the Department of Justice filed its claims in

        6      this case.     Within those claims, the Department of Justice

        7      stated that Purdue's misconduct gave rise to criminal

        8      liability.

        9                   Both states also provide their claims to this

       10      Court in the summary, and both the consenting states and the

       11      nonconsenting states agreed that all unlawful conduct

       12      persisted.

       13                   Our issue is that the plant is not accounted all

       14      for carving out any employees that engaged in wrongdoing,

       15      let alone alleged wrongdoing.         Take, for example, in --

       16                   THE COURT:   Is it the other way around?

       17                   MR. QUINN:   Well, yeah, I think you're right.

       18      It's the other way around.         My apologies.

       19                   THE COURT:   Okay.

       20                   MR. QUINN:   Take, for example, Your Honor, in the

       21      DOJ's claims, they cite -- the summary claims -- they cite

       22      the Practice Fusion case.         Now, our committee is aware of

       23      this case, as we brought it up last spring.          In the original

       24      Practice Fusion information that was filed last January,

       25      U.S. Attorney for the District of Vermont recognized that

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        1      the coconspirators of the case, who the DOJ in their claim

        2      showed it to be the pharmaceutical company, Purdue, were

        3      engaged in those crimes.

        4                  The information further specified specific titles,

        5      without giving names, such as a brand manager, a director of

        6      e-marketing, and a physician.        This, to me, shows that those

        7      type of individuals, those type of titles, are squarely

        8      within the KERP plan as potential employees to receive these

        9      bonuses.

       10                  My concern is that, A, it's possible those

       11      employees are still retained and will be getting bonuses,

       12      but also that the Board of Directors didn't evaluate whether

       13      this companywide plan is great, considering the potential

       14      crimes.

       15                  THE COURT:   But you --

       16                  MR. QUINN:   Now --

       17                  THE COURT:   Have you --

       18                  MR. QUINN:   Now, I under --

       19                  THE COURT:   Have you read Paragraph 10 of the

       20      order?

       21                  MR. QUINN:   I don't have it in front of me, Your

       22      Honor, but I'm assuming it has to do with a mechanism

       23      they've created that says if they're convicted in a court,

       24      the bonuses will be clawed back.         Is that what you're

       25      referring to?

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        1                  THE COURT:   Yes.

        2                  MR. QUINN:   Well, the problem with that is it puts

        3      a strong onus on the government to conduct the kind of

        4      activities that should be left to the Board of Directors.

        5      You know, it sort of shifts the burden for the government to

        6      prosecute a case, to bring it to court, to conduct laborious

        7      discovery, and to reach some kind of conclusion regarding

        8      these crimes.

        9                  Now, Your Honor, as you can probably imagine,

       10      having spent some time with me today, there's been years

       11      where, especially in my early days as an associate, I didn't

       12      receive bonuses.    My firm wasn't going to give me a bonus

       13      and depend that -- you know, if there's a finding in a court

       14      that Mr. Quinn can't do his business at an extraordinary

       15      level, that we should claw back those bonuses.        And I think

       16      the same applies here, Your Honor.

       17                  My other issue -- and I'll conclude with this --

       18      is that it's just another sign that while Purdue, as the

       19      Debtor says and as Debtors' counsel says, is trying to

       20      become an asset in the fight against the opioid crisis, some

       21      of these long-term plans that have been in place, as the

       22      Debtor mentioned, for 20 or more years are still persistent.

       23      So this why I'm asking for the KERP plan to not be

       24      authorized at this time.        Thank you.

       25                  THE COURT:   Okay.

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        1                    MR. HUEBNER:     Your Honor, I don't -- Mr. Preis, I

        2      need to say just a couple of things, but why don't you go

        3      first, and then I guess I will (indiscernible).

        4                    MR. PREIS:     Your Honor, is it okay if I speak

        5      now.

        6                    THE COURT:     Yes.

        7                    MR. PREIS:     Okay.    For the record, again, Arik

        8      Preis, from Akin Gump Strauss Hauer & Feld, on behalf of the

        9      official Creditors' Committee.

       10                    Your Honor, I just wanted to make (indiscernible).

       11      I want to speak briefly about the compromise that we've

       12      reached with the Debtors regarding the insider bonus and

       13      non-insider retention plans.           I'm not going to reiterate

       14      what was in the Debtors' papers for what they said on the

       15      record regarding the agreement, but I wanted to give you

       16      some background as to why we reached the deal that we did.

       17      I'm not going to comment on some of the things Mr. Huebner

       18      said that we disagree with, including some things he said

       19      about the attrition rate and how he characterized that.                But

       20      it's not (indiscernible) --

       21                    THE COURT:     You faded out.       Can you hear me, Mr.

       22      Huebner?

       23                    MR. HUEBNER:     Yes, Your Honor.         You're perfectly

       24      clear.      I think Mr. Preis was unfortunately --

       25                    THE COURT:     Mr. Preis?      Mr. Preis faded out

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        1      though.     I can't hear him.

        2                   MR. HUEBNER:     Yeah.     I -- is there a problem --

        3                   THE COURT:     Mr. Preis, can you just check to make

        4      sure you're not on mute?

        5                   MR. HUEBNER:     Can somebody from Akin Gump text

        6      him, please?

        7                   MR. HURLEY:     Marshall, I texted him.

        8                   THE COURT:     Okay.     That was Mr. Hurley?

        9                   MR. HURLEY:     Yes, Your Honor.          Yes.

       10                   THE COURT:     Okay.     All right.       Well, you know

       11      what, Mr. Huebner, why don't you just respond while Mr.

       12      Preis is getting back on the phone?

       13                   MR. HUEBNER:     Sure.     Your Honor, just very

       14      quickly, as unfortunately, I may not give him enough time to

       15      get back on the phone.        I don’t really have very much to

       16      say.

       17                   With respect to the U.S. Trustee's comments, I

       18      want to be very clear.        I think the Court echoed the

       19      sentiments.     It is very, very unfortunate that funds have

       20      not yet gone out.     It's also unfortunate, if it were

       21      possible, that this case was not already over and all the

       22      funds going out.

       23                   But the people who object to this plan have no

       24      control whatsoever over the fact, as this Court knows well

       25      and I think everyone else on this call knows well,

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        1      essentially that there are five of the creditor groups in

        2      this case just could not agree on an ERF, and at the end of

        3      the day directed us to stop pushing for it because it would

        4      not have gone well, given their fundamentally different

        5      positions.

        6                   To say that someone out of the plant in Wilson,

        7      North Carlina or up in Rhode Island shouldn't get paid the

        8      part of their compensation that had been withheld for 30

        9      years and paid at year end because of differing views at the

       10      high levels in government and otherwise over ERF, simply

       11      doesn't make any sense.

       12                   But we share the frustration that money is not yet

       13      out to help people.     This is not the right way to address

       14      that.

       15                   With respect to the smaller number of people in

       16      the retention plan, Your Honor, just so the record is clear,

       17      I think our papers are clear on this point.         The targeted

       18      retention is actually just a continuation of the plan that

       19      was approved last year.     We're trying to spend money

       20      judiciously and only where we need to, because we know where

       21      every dollar that's there now is not going, and I think we

       22      try to be sensitive to that everywhere we can.

       23                   With respect to Mr. Quinn's relatively limited

       24      comments, I'll also be limited.        What Mr. Quinn may not know

       25      is that last year, we already were, I think, collectively

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        1      quite sensitive to not paying people for (indiscernible) in

        2      the company's history that were, at a minimum, much more

        3      complex and under generally very strong views by the

        4      company's conduct.       And we did things with respect to the

        5      various programs that essentially cut out the period that

        6      ended very early in 2018, when detailing stopped.         We're now

        7      free of that, and so, you know, the reality is that this is

        8      2020 compensation when Purdue was in Chapter 11, under the

        9      watchful eye of frankly hundreds of people, and dozens of

       10      staff, and 48 attorneys general, and the DOJ, and a monitor,

       11      and a self-injunction.

       12                  So I understand that people have very strong views

       13      about Purdue's past in all direction, and certainly with Mr.

       14      Quinn's clients, and I actually read some of their stories

       15      last night.    And obviously, I have nothing but endless

       16      sympathy and pain for people who have suffered addiction, or

       17      lost children, or the like, which is just unspeakable, and

       18      there's no response to that.         But the reality is that this

       19      is for 2020, when maintaining the value of these assets so

       20      that they can be deployed to god-willing stop, and

       21      ameliorate, and address the current crisis raging, is what

       22      this is for, and we believe it's carefully and appropriately

       23      tailored to do so, and I will leave my remarks at that.

       24                  THE COURT:     Well, let me ask you, obviously

       25      Secretary, former Governor Vilsack is the monitor in this

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        1      case.   Is there a reporting mechanism whereby if he

        2      determines that someone is engaging in misconduct, he'll

        3      report that to the board, and the board can take appropriate

        4      action, including cancelling payments.

        5                   MR. HUEBNER:     Your Honor, the company has a very

        6      broad compliance program, that as you might imagine gets           a

        7      lot of attention, and there compliance reports.         I've

        8      probably been at every board meeting for the last now,

        9      almost three years.

       10                   And it's not just Secretary Vilsack, although I

       11      think that is also true, that he certainly has brought to

       12      the board, you know, whatever concerns he has, either

       13      structural or otherwise.         I don’t believe, to my knowledge,

       14      I don’t want to sort of (indiscernible), so I don’t believe

       15      that he has, in fact, ever pointed at an individual

       16      employee, because his current practice analysis is really

       17      about structures, and policies, and procedures, and best

       18      practices.

       19                   But there's actually a broad array of other

       20      mechanisms in place that are designed to ensure that the

       21      behavior of the company in the current period would

       22      hopefully be above anybody's reproach, even its most severe

       23      critics.     And obviously I can -- I'm not getting

       24      (indiscernible) anybody to say that if obviously the company

       25      found out that people were engaged in this conduct at

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        1      present, immediate, decisive action would unquestionably be

        2      taken.

        3                   THE COURT:    So, Mr. Preis, I see you're back on.

        4      I decided to go ahead, because you had other colleagues on

        5      the phone, with just letting Mr. Huebner respond briefly to

        6      the two objections.       But you cut out pretty early in your

        7      remarks.

        8                   MR. PREIS:    Okay, and thank you, Your Honor, and I

        9      apologize for that.       And I was, I did catch up, I did ask my

       10      colleagues what Mr. Huebner was saying, so I think I am

       11      caught up.     May I start over?

       12                   THE COURT:    Well, where you left off that you

       13      weren't going to say why you might disagree with the Debtors

       14      on their view of attrition, but then you cut out.

       15                   MR. PREIS:    Okay, so then what I was going to say

       16      is, what I really want to address the reasons why we reached

       17      the deal that we did.       And I think that if I provide you

       18      these five points, it may help you as you consider the

       19      objections that were raised.         I'm also going to address the

       20      two objections that were raised specifically.

       21                   So first and foremost, I want to thank the

       22      advisors to the ad hoc committee, and the nonconsenting

       23      state group, and the MSEG, as well as many of the actual AGs

       24      in the nonconsenting group, who we worked closely with and

       25      coordinated with over the past few weeks, in reaching a

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        1      compromise with the Debtors.      As the Debtors said, the

        2      compromise was supported by all of our of us.        We think that

        3      this full agreement by all the four groups is an important

        4      factor here.

        5                  The second point I want to make is that the fact

        6      that the four groups, we all view the non-insiders as very

        7      different than the six insiders that remain as part of the

        8      KEIP.   We were very adamant about the fact that we needed

        9      more time to consider the request regarding the six

       10      insiders, and that more thoughtful and careful consideration

       11      and analysis as needed for the programs that were proposed

       12      for then.    And frankly the analysis for then will include

       13      both economic and non-economic factors.

       14                  Conversely, with regard to the non-insiders, while

       15      the creditors' committee was not excited about the fact that

       16      the Debtors requested retention payments of $51 million to

       17      virtually all of their 614 employees over the next three

       18      years, the UCC made the decision that, as you correctly

       19      pointed out earlier, that penalizing the non-insiders for

       20      the situation we're in doesn’t seem appropriate, and as

       21      such, we focused on the discrete issues with the non-

       22      insiders, and I'm going to raise those.

       23                  That being said, I don’t want there to be any

       24      misunderstanding about the following, which is the fact that

       25      we were able to reach agreement on the non-insiders, and the

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        1      way that we reached agreement on them should not be viewed

        2      as a roadmap of any sort with regard to each of the

        3      insiders.     We'll negotiate and discuss the insiders

        4      separately.

        5                  The third thing I wanted to raise is a key facet

        6      of the compromise, is that the retention program does not

        7      bind the hand of the reorganized Debtors.           I think you

        8      alluded to this earlier, but all payments to the non-

        9      insiders were made as for the effective date if not sooner,

       10      subject to claw back that we talked about.           This is designed

       11      to give the reorganized Debtors the flexibility going

       12      forward, and frankly, finality looking backward.           I think

       13      you also, you realize as well, because you’ve made an

       14      illusion to it earlier, that this is actually better, in

       15      some ways, for the employees, because they get their dollars

       16      earlier.

       17                  Fourth, we, that all four groups appreciate the

       18      Debtor's agreement, both with regard to economics, which are

       19      the eight percent reduction, the overall plan from the non-

       20      insiders, and the timing of the payments, which are slightly

       21      delayed.    I further point out something that you raised with

       22      the Debtor's experts, which is that the eight percent

       23      reduction only applies to 131 of the Debtor's 614 employees.

       24      Meaning that roughly 79 percent of the workforce is not

       25      affected by the economic reduction.

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        1                  And I actually thought your question was perfect,

        2      Your Honor, about the question about how the employees are

        3      affect, or how that chart was affected by the decrease.             And

        4      in fact the Willis Towers Lawson person said that it wasn’t.

        5      And in fact, you know, because, as you correctly solicited

        6      from the Willis Towers Lawson person, that chart deals with

        7      2020 compensation.       And in fact, we have now frontloaded

        8      2020 compensation.       And so one might argue that employees

        9      are actually better off in looking at that chart.

       10                  Fifth, and finally, I do want to flag for the

       11      Court the deferral of the approval of payment, of the

       12      retention payments to eight non-insider employees, until the

       13      October omnibus hearing.        There was some back and forth

       14      between both you and the Office of the United States

       15      Trustee, as well as the ad hoc group of accountability

       16      regarding certain items.        And I would just say that we hope

       17      to work with the Debtors on an appropriate resolution for

       18      those employees, between now and the objection deadline, and

       19      we are happy to include the ad hoc group of accountability

       20      and the Office of the United States Trustee in those

       21      discussions.    I think they would benefit, and they would

       22      understand why we asked for the deferral.             With that, Your

       23      Honor --

       24                  THE COURT:     Can I interrupt you on that point?

       25                  MR. PREIS:     Sure.

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        1                  THE COURT:     The U.S. Trustee is a government

        2      official.    I certainly trust the exercise of his discretion.

        3      I'm assuming your discussions, which cover fairly personal

        4      matters with the Debtors on that topic are confidential.                  I

        5      would not want this five-person group, which has already

        6      made unfounded and inflammatory statements, to go into such

        7      a review untethered by confidentiality.               I just don’t trust

        8      them.   So you may, you may invite them, and if they're

        9      willing to get under the tent, fine.            But otherwise, no.

       10                  MR. HUEBNER:     Your Honor, for what it's worth,

       11      Your Honor, this obviously was -- we were not consulted.

       12      This is our information about our employees.               With all due

       13      respect to Mr. Preis, we will have to talk later, I think,

       14      about the mechanics for (indiscernible) people, and I don’t

       15      really think that should be offered in open court,

       16      (indiscernible) information?

       17                  THE COURT:     That's fine, you know where I'm coming

       18      from.

       19                  MR. PREIS:     Understood, Your Honor, and I should

       20      have correctly pointed out that this would be subject to

       21      confidentiality.    I didn't mean anything otherwise, given

       22      the sensitive nature of the reason for the deferral.

       23                  With that, Your Honor, I have nothing else to add,

       24      but as I mentioned at the outset, I thought it would be

       25      helpful for you in considering the objections, to understand

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        1      the position -- our position as to why we reached the

        2      compromise.    I don't know if either of the three

        3      governmental groups have anything they would like to add as

        4      well?

        5                  MR. TROOP:     Your Honor, this is Andrew Troop of

        6      the nonconsenting states.        I would just reiterate Mr.

        7      Preis's point that the compromise we've reached is

        8      independent of the actual representations, that the Debtors

        9      had made on a variety of points, and that all of those

       10      issues are potentially in play in the future.            This was a

       11      compromise reached in recognition of the people involved and

       12      the specific concerns that we have with respect to some of

       13      them, which is why there is a deferral mechanism.            And

       14      unless you have any other questions for me, in particular,

       15      Your Honor, that's all we have to say on this one.

       16                  THE COURT:     Okay, thanks.

       17                  MR. HUEBNER:     So Your Honor, if I may, just

       18      because we had to go out of order because of those

       19      connection problems.       I just need about 60 more seconds, I'm

       20      going to cover Mr. Preis's things.            I will be extremely

       21      brief.

       22                  Number one, just because Your Honor has noted at a

       23      prior hearing that the media sometimes pics up on things in

       24      ways that are not accurate and unhelpful, with apologies to

       25      Mr. Preis, to call this $51 million of retention, it's

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        1      actually in fact just completely inaccurate.          This is a

        2      combination of long-term incentives that have been earned

        3      over a three-year period, that then would be repaid in 2021,

        4      2022, and 2023, and the company's annual incentive program,

        5      and a much smaller actual retention program, that I believe

        6      is only about $8.1 million.

        7                  I just, I really -- (indiscernible) to all of us,

        8      if there was a headline that came out that said, you know,

        9      51 million in retention bonuses approved, because that's

       10      just flatly wrong.    It's not what it is, there are many

       11      components to it, and I think it's important that everyone

       12      understand that clearly.     I think we have been very clear.

       13                  With respect to the second point        about the

       14      request not to bind the hands of the post-emergence entity,

       15      again or the exact reasons the Court asked about, we

       16      actually at first were quite surprised and taken aback by

       17      that request, because our goal is to create an enterprise

       18      tant no matter want, people want to do it post-emergence, is

       19      designed to be durable and to hold its people to maximize

       20      value during whatever period it runs, in whatever form it

       21      runs.

       22                  And obviously one of the reasons you have a long-

       23      term incentive plan that is earned year by year, but paid on

       24      a three-year schedule, is to hold people.          And I don't think

       25      I've ever had anybody in my whole career ask me, you know,

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        1      those payments due in '23 and '22, I want to pay them much

        2      earlier, which is why as I said before, we understood it,

        3      and we agreed to it as frankly our CFO and others were

        4      concerned about the loss of the ten-foot hold.

        5                   Because somebody having to wait to actually get a

        6      payment is frankly going to be viewed differently than the

        7      risk of being sued for a claw back, especially for

        8      potentially a more modest amount, or the cost of legal fees

        9      just might not justify it, if someone were being rationale.

       10      So we asked them, and added a claw back back in for some of

       11      those, so at least we had that tool to hold the company

       12      together, in all the ways we knew how, for the benefit of

       13      stakeholders.

       14                   But again, we're not the ones that asked to

       15      accelerate everybody's payments.         I just, I don’t want

       16      people to think that this is sort of one of those situations

       17      where the Debtors have thoughtlessly asked for quite big

       18      bonuses, and to pay them too early to people.         It's not true

       19      at all.     We were asked by the creditors to accelerate the

       20      payments, which we did, and put a claw back back in.            And I

       21      think that that's really a very important point.

       22                   And then with respect to participation, again, I

       23      have no disrespect at all, at all, to the five individuals,

       24      and their life stories and experiences on the core committee

       25      for accountability.     But we have many, many cooks in this

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        1      kitchen with a lot of people, many people who are official

        2      representatives, whether they are governmental officials, or

        3      the UCCs for all creditors, or the U.S. trustee's office.

        4      It's not going to be simple, frankly, I think, to

        5      convenience the Debtors of Mr. Preis's quote, "offer", close

        6      quote, that we should have individual employee information,

        7      and data, and compensation data, and the like, be share with

        8      yet another constituency.          We're open to listen, but that's

        9      actually something that's best discussed behind closed

       10      doors, not at a hearing with 50, 70, 80 people listening in.

       11                    So with that, Your Honor, I appreciate at the end

       12      of the day, we are, I think (indiscernible) again, which is

       13      that we have non-objection, or support for this program,

       14      from all of the major creditor consistency and economic

       15      stakeholders in this case.          The only two objections are that

       16      of the trustee and the five individuals, who are represented

       17      by the committee on accountability.            And we would ask that

       18      the modified form of order that of course includes the, what

       19      if there is wrongdoing found language, be approved.

       20                    THE COURT:   Okay.     All right, anything else?    All

       21      right.      I have before me that portion of the Debtor's

       22      motion, dated September 9, 2020, for approval of a key

       23      employee retention plan, which has various features in it,

       24      but would basically cover 2020 through 2023 with the timing

       25      adjustment laid out in the motion, and as modified, as laid

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        1      out in the Debtor's omnibus reply in support of the motion

        2      the other day.

        3                  When evaluating such a plan, which I'll refer to

        4      as the KERP, even though it has various elements to it, the

        5      Court must first determine whether the employees to be paid

        6      are insiders or not.    That is because in Section 503(c)(1),

        7      the Congress precluded, effectively, given the conditions in

        8      that section, the application or approval of a key employee

        9      retention plan for insiders.

       10                  The motion sets out how the Debtors went about

       11      concluding whether the participants in the KERP are insiders

       12      or not, under Section 101(31) of the Bankruptcy Code, in

       13      large part based on, entirely based on prior rulings by me

       14      in these cases, which in turn relied on well-established

       15      case law, including In re Borders Group, Inc. 453 B.R. 459,

       16      Bankr. S.D.N.Y. 2011, and In re Charles P. Young Company,

       17      145 B.R. 131, Bankr. S.D.N.Y. 1996, and other cases that I

       18      had previously cited.

       19                  No one has contended here that any of the

       20      participants in the KERP is an insider, which means that

       21      instead of having to meet the, essentially impossible test

       22      to meet in Section 503(c)(1), the Debtors have to satisfy

       23      the requirement of 11 U.S.C. Section 503(c)(3), see for

       24      example, In re Patriot Coal Corp., 492 B.R. 518, Bankr. E.D.

       25      Missouri 2013.    In re Residential Capital, LLC, 491 B.R. 73

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        1      Bankr. S.D.N.Y. 2013, and In re Global Aviation Holdings,

        2      Inc., 478 B.R. 142, Bankr E.D.N.Y. 2012.

        3                  That test, as set forth in the statute, says that

        4      there shall not, neither be allowed nor paid other transfers

        5      or obligations that are outside the ordinary course of

        6      business, and not justified by the facts and circumstances

        7      of the case, including transfers made to or obligations

        8      incurred for the benefit of officers, managers, or

        9      consultants hired after the date of the filing of the

       10      petition.

       11                  The case law is clear that the facts and

       12      circumstances of the case requirement is to be interpreted

       13      generally, as one interprets an action out of the ordinary

       14      course by a Debtor in possession, or trustee, under Section

       15      363(b) of the Bankruptcy Code, which is often referred to as

       16      a business judgment standard, although that standard is not

       17      the deferential corporate law business judgment standard,

       18      but rather a standard laid out, I believe, by the Second

       19      Circuit, in, among another cases In re Orion Pictures, 4

       20      F.3d 1092, that requires the bankruptcy judge to determine

       21      whether under the facts and circumstances, the KERP is the

       22      proper exercise of business judgment, or makes good business

       23      sense.

       24                  See also In re Velo Holdings, 472 B.R. 201-212,

       25      Bankr. SDNY 2012.    The Borders Group case that I previously

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        1      cited at Page 473, and most appropriately In re Dana Corp,

        2      358 B.R. 567, Bankr. SDNY 2006, where in the context of a

        3      determination under Section 503(c)(3), Judge Lifland laid

        4      out a number of factors that would be worth considering when

        5      determining whether an employee plan passes the facts and

        6      circumstances test, i.e. as a proper exercise of business

        7      judgment.

        8                  Those factors are well-recognized, and have been

        9      applied by numerous other cases, including the ones that

       10      I've also cited.    They are, is there a reasonable

       11      relationship between the plan proposed, and the results to

       12      be obtained, i.e. will the key employees stay for as long as

       13      it takes for the Debtor to reorganize, or market its assets,

       14      as the case may be, i.e. is it calculated to achieve the

       15      desired performance?     Two, is the cost of the plan

       16      reasonable in the context of Debtor's assets, liabilities

       17      and earning potential?

       18                  Three, is the scope of the plan fair and

       19      reasonable, does it apply to all employees, does it

       20      discriminate unfairly?     Four, is the plan consistent with

       21      industry standards?    Five, what will the due diligence

       22      efforts of the Debtor and investigating the need for a plan,

       23      analyzing which key employees need to be incentivized, what

       24      is available, and what is generally applicable in a

       25      particular industry?     And lastly, did the Debtor receive

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        1      independent counsel when performing due diligence, and in

        2      rating an authorizing the incentive compensation, or in this

        3      case, the compensation, period.

        4                    Not mentioned by Judge Lifland, but very

        5      important, I believe, is the notice and opportunity for a

        6      hearing requirement that underlies the whole provision and

        7      the business judgment standard as applied in bankruptcy

        8      cases.      And the nature of the responses to the proposal in

        9      particular, whether the proposal has substantial support at

       10      least among the creditor body.         Not all these factors

       11      necessarily will be applicable.         Ultimately the Court,

       12      again, has to evaluate the business judgment of the Debtors

       13      in proposing the plan.

       14                    Here, as modified, as set forth again in the

       15      Debtor's supplemental reply, or on to this reply, excuse me,

       16      in support of the motion, the relief that's being sought

       17      before me now has the support, as negotiated, with the key

       18      constituencies in this case, the official unsecured

       19      creditors committee, the ad hoc governmental committee, the

       20      ad hoc committee of nonconsenting states, and the committee

       21      of nonstate governmental entities, who again, represent

       22      basically all the people in the United States.         The proposal

       23      is objected to by the United States Trustee, and by a group

       24      of five personal injury claimants and no others.

       25                    In addition, it appears clear to me, indeed I

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        1      believe uncontroverted, that the KERP, as proposed, is at or

        2      around the average, on a total basis, of all the factors

        3      combined, of compensation in the Debtor's own industry, the

        4      pharmaceutical industry.     It's testified to both in a

        5      declaration and on the record today, by the Debtor's

        6      compensation consultant on this trial, from Willis Towers --

        7      that is, a broad-based database of roughly 80 to 85

        8      pharmaceutical companies of the same size, or roughly the

        9      same size as the Debtors -- and moreover does not take into

       10      account the additional pressures on a Debtor's non-insider

       11      workforce and related uncertainty, resulting from the

       12      Debtors being in Chapter 11, and there not yet being a

       13      proposed Chapter 11 plan.

       14                  Congress, in Section 503(c)(3) for non-insiders

       15      clearly preserved the ability to pay more than market, to

       16      retain key employees who are not insiders.         And the Debtors

       17      could make a case for paying more than the 50th percentile,

       18      give or take five percent above or below, with respect to

       19      non-bankruptcy companies, given the pressures that are on

       20      them, and their employees in this Chapter 11 case.

       21                  The plan further appears to me not to discriminate

       22      unfairly among employees.     It's quite comprehensive.       It is

       23      also consistent with the Debtor's approach, with respect to

       24      their employees, for at least 20 years, and in the case of

       25      most of their employees, for over 30 years.         It is

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        1      uncontroverted that it's consistent with industry standards.

        2      It is also uncontroverted, of course, that the Debtors'

        3      board and compensation committee were advised by a

        4      compensation consultant that's well-recognized as well as

        5      counsel, and of course there was dud diligence on what is

        6      now before me by well-represented creditor groups, including

        7      the official creditors' committee, which have the resources

        8      to engage in the type of analysis that I've just described.

        9                  The U.S. Trustee has objected to the plan on two

       10      grounds, one of which I find completely unjustified, even

       11      frankly as being raised, which is that these employees, who

       12      are concededly not insiders, should somehow have their

       13      market-based comprehensive pay reduced substantially, by --

       14      in light of the fact that the Debtors have not confirmed a

       15      Chapter 11 plan yet, or have made an emergency fund

       16      distribution, pending such confirmation.

       17                  I have never seen, and have been cited to no case

       18      law where that would be -- where that type of analysis would

       19      be relevant to these types of employees, and I can

       20      understand why, given the fact that they have no say over

       21      either of those things, other than just their ability to

       22      keep working.    They were clearly not negotiating the

       23      emergency relief fund, that wasn’t their job.        And

       24      similarly, they are not negotiating a Chapter 11 plan.         The

       25      people who are negotiating both of these matters were the

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        1      Debtor's senior management, the Debtor's professionals, and

        2      professionals for other key constituents in the case, and in

        3      the case of plan negotiations, two highly compensated and

        4      effective mediators.

        5                  Secondly, the Debtor -- the U.S. Trustee contends

        6      that the cost of one of the portions of the KERP as a

        7      percentage of the Debtor's revenue, which is one of the

        8      factors, arguably, in the Dana II analysis, I used the cost

        9      of the plan reasonable in the context of Debtor's assets,

       10      liabilities, and earning potential.         That is considerably

       11      over the 50th percentile.     But I will note first that it is

       12      only one of the factors, and moreover, it is just a cost

       13      factor related to the Debtor's revenue, as opposed to

       14      assets, liabilities, and the other factors listed by Judge

       15      Lifland, including the importance of these employees and

       16      whether the proposal is necessary to achieve the desired

       17      result.

       18                  Far more important to me, frankly both in

       19      connection with an evaluation of a KERP and a Key Employee

       20      Incentive Program, which is not before me today, is how the

       21      overall proposed compensation relates to the market in the

       22      Debtor's industry, and although less meaningful, how it

       23      relates to comparable companies in Chapter 11.         Here, the

       24      motion's underpinnings are clearly supported by the record,

       25      and I believe it is quite easy to find that the KERP, as

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        1      negotiated, with the proper exercise of business judgment,

        2      subject to review that is far beyond any sort of review that

        3      would occur out of a bankruptcy case, and justified by the

        4      facts and circumstances of the case.

        5                   I do have some concern of the acceleration of

        6      payment upon the Debtor's emergence from bankruptcy.           On the

        7      other hand, that concern, which is frankly not retentive,

        8      and of course one element of the Key Employee Retention Plan

        9      is to retain employees.     On the other hand, I believe it's

       10      more important to pay employees a market level of

       11      compensation on an aggregate basis to ensure their

       12      retention, and in the few circumstances here where due

       13      diligence shows that even more is required, to do so on a

       14      very targeted and thoughtful basis, of which there's a

       15      process in place now to meet that decision.

       16                   Further, I'm given some comfort by the fact that I

       17      noted earlier in today's hearing that the key parties in

       18      interest here have acted responsibly throughout this case

       19      and in good faith to maximize value, so that that value can

       20      be distributed to their constituents, to abate the opioid

       21      crisis.     It seems to me that they will not act foolishly to

       22      cause the workforce to be unduly concerned about its future

       23      following the effective date of the plan.           I think they

       24      simply want to preserve flexibility as to what a plan will

       25      look like.

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        1                    But I do not view this group, who after all are

        2      attorneys general, and comparable city council -- I'm sorry,

        3      city, county, and other representatives, travel

        4      representatives, all of whom are fiduciaries for those

        5      people, to take an action that would cause the Debtors to

        6      lose substantial value, by losing substantial numbers of its

        7      -- of their employees.

        8                    The five-person ad hoc committee essentially

        9      argues that the Debtors, in the past and perhaps now,

       10      although they’ve not offered any support for that matter of

       11      contention, are essentially a criminal enterprise, and

       12      therefore should not have employees who are compensated.          I

       13      have dealt with this in the past, that the Debtors are in a

       14      highly regulated industry, their products are lawful, and

       15      used in proper ways.      The Debtors have substantial checks

       16      and balances in place to ensure that that continues.

       17                    In addition, at my request at the beginning of the

       18      case, the Debtors have negotiated with the key parties of

       19      interest, and agreed upon the appointment of Mr. Vilsack as

       20      their monitor, over and above the regulations that they are

       21      under.      I do not believe it is a propose exercise of

       22      business judgment to pay employees of these companies below

       23      market compensation, because of past events, pre-petition

       24      events.

       25                    There is a, again, a provision that I had a

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        1      substantial hand in, a paragraph in the order that provides

        2      for a claw back if past criminal activity has been

        3      identified.    The Debtors are on record that no such

        4      misconduct will be permitted to occur post-petition, and so

        5      I am focusing again on the business judgment of whether to

        6      pay these non-insider employees a fair compensation on a

        7      market rate.    And to me, given the underlying premise that

        8      has not been refuted here, that the value of these Debtors

        9      is maximized by their continuation, and in fact that premise

       10      has been if anything, strengthened by the result of the

       11      mediation that just concluded, I concluded that objection

       12      should be overruled.

       13                  One last point, I will note that there has been

       14      loose language here, as loose language in prior objections,

       15      that described this program as a bonus program.

       16                  The record is clear that these payments, in

       17      addition to being, tracking a longstanding practice of over

       18      30 years, in most cases, albeit reduced from what they were

       19      prepetition, is necessary to compensate these employees at

       20      market in their industry.

       21                  To me, as I've said previously, and has not been

       22      refuted, but merely has just been stated again, it's a

       23      bonus, without refuting my earlier finding.         This is really

       24      compensation; this is not a bonus.         If there's any bonus

       25      here, it's the limited stay bonus for the eight people.           So

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        1      with that, I'll grant the motion; the order can be submitted

        2      as it has been revised.

        3                  The last thing I'll say, and I'll be very brief,

        4      as we may lose the feed here, since we've been on for going

        5      close to four hours.    I, my thinking on key employee

        6      incentive plans has been evolving over the last few years.

        7      And I think what I would benefit from, if the parties cannot

        8      reach agreement on a key employee incentive plan for the

        9      insiders is again, a focus on the market of the Debtor's

       10      competitors.    And a recognition, of course, that those plans

       11      often include equity, which would be difficult to include

       12      here, except for post-effective date equity, and even then

       13      would be problematic.

       14                  And I think Willis Towers and people of their like

       15      would be better off focusing on how to address that simple

       16      distinction between equity and cash than on focusing on

       17      Chapter 11 KEIPs, key employee incentive plans.        I want to

       18      know about what's the industry standard, and I want to know

       19      whether the incentives are properly targeted.

       20                  I will note that fighting over other things

       21      related to KEIPs really does not lead to much of a change,

       22      if anything, but it does lead to more cost.        See, for

       23      example, Jared A. Ellias, E-L-L-I-A-S, Regulating Bankruptcy

       24      Bonuses, 92 California Southern Law Review, 653, March 2019.

       25      It's fine to have guidelines and incentives.        I'm fully

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        1      onboard with that, particularly if negotiating with key

        2      parties in interest.      Looking at what other Chapter 11 KEIPs

        3      did is less significant to me than the marketplace

        4      generally, as long as the experts can translate cash bonuses

        5      from incentive bonusses, that is, from stock bonuses, taking

        6      into account the risk of the latter, and the assurance of

        7      the former.

        8                  So with that being said, I'm not sure there's

        9      anything else on today's agenda.

       10                  MR. RAND:    Yes, Judge, can you hear me?

       11                  THE COURT:    Yes, I can hear you.

       12                  MR. RAND:    James Rand, I'm an inmate.         I am a

       13      personal injury claimant creditor, I'm calling you from the

       14      United States Penitentiary, Terre Haute.             I was scheduled

       15      for 9:30 telephonic hearing with you, however due to the

       16      perils of a maximum-security prison, it didn't happen.

       17                  But I'm in communication with you now, and this is

       18      rather minute, but I filed a motion for tolling of filing

       19      deadline.     Due to the coronavirus sequestering and being

       20      incommunicado, et cetera, I didn't have access to pens,

       21      pencils, stamp, et cetera.       I couldn't send my form in to

       22      the Prime Clerk, and --

       23                  THE COURT:    Mr. Rand, can I interrupt you?

       24                  MR. RAND:    Yes, sir.

       25                  THE COURT:    And I appreciate your patience of

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        1      staying on the line throughout this whole hearing.               I don’t

        2      believe that your motion is on the agenda for today's

        3      hearing as a contested matter.         When --

        4                  MR. RAND:    I received notice from Court Solutions

        5      to be in communication with you via telephone at 9:30 today,

        6      sir.

        7                  THE COURT:    But that's because you wanted access

        8      to the hearing.     I (indiscernible) --

        9                  MR. RAND:    Is it necessary that I have a personal

       10      communique with you in regards to a motion of tolling of

       11      filing deadlines?

       12                  THE COURT:    I'm going to tell you what you need to

       13      do, okay?

       14                  MR. RAND:    Yes, sir.

       15                  THE COURT:    Okay, I'm assuming that you have filed

       16      that motion, and asked to have it served.               I doubt you've

       17      actually served it yourself, given where you are.

       18                  MR. RAND:    I've received a docket number.           It has

       19      been filed with the Bankruptcy Court.

       20                  THE COURT:    All right, okay.           Now you also have to

       21      get a hearing date from my courtroom deputy, Ms. Lee.               It

       22      will probably be the next omnibus hearing date, under the

       23      order that I entered earlier in this case, establishing

       24      hearing procedures.      That way the parties will know when it

       25      is on the calendar, and they can address it.

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        1                   If it's not on the agenda, if it's not on the

        2      calendar with the hearing date, then they're not going to

        3      address it, and I'm not going to address it, because it's --

        4      they haven't had a chance to focus on it, and neither have

        5      I.     So I again apologize for you being on this call as long

        6      as you have, but this isn't on today's agenda, and you need

        7      to get it on the agenda by asking my courtroom deputy to put

        8      it on the agenda, Ms. Li, L-I --

        9                   MR. RAND:    His name is Lee?

       10                   THE COURT:     Yeah, her name, Dorothy Li, L-I.       You

       11      can also speak to one of the Debtor's lawyers to put it on

       12      the agenda as well.

       13                   MR. RAND:    What is the actual phone number of Ms.

       14      Li, if I may ask?

       15                   THE COURT:     You know, I don't know, but if you

       16      just call the Bankruptcy Court in White Plains, it'll get to

       17      her.

       18                   MR. RAND:    The what court, sir?

       19                   THE COURT:     My court, the U.S. Bankruptcy Court,

       20      S.D.N.Y, in White Plains, New York.

       21                   MR. RAND:    I got you, sir.        Well, I really enjoyed

       22      listening, I got quite a continuing legal education, sir.

       23                   THE COURT:     Okay, very well.

       24                   MR. HUEBNER:     Your Honor, just on behalf of the

       25      Debtors, we're obviously happy to try to help, obviously the

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        1      constraints the gentleman is operating under are

        2      (indiscernible), and so --

        3                    THE COURT:     One last point, Mr. Rand, one last

        4      point.      You know, you heard about the mediation, which

        5      included a mediation of personal injury claims distribution,

        6      not how they will be distributed among the Claimants.              So I

        7      don't know whether you're looking to have your claim be

        8      deemed timely filed, because it missed the bar date.              I'm

        9      not quite sure what you're looking for, (indiscernible) --

       10                    MR. RAND:    I filed a motion due to being

       11      incommunicado, that I didn't meet the any deadline, from the

       12      virus.

       13                    THE COURT:     Fine, again you just have to get that

       14      hearing date, and then it will be considered, or the Debtors

       15      will deal with you on it, as they often do, and try to

       16      resolve it with you without a contested hearing.

       17                    MR. HUEBNER:     Your Honor, we obviously don’t have

       18      the motion in front of us, but you know, we will endeavor to

       19      get in touch with Mr. Rand.           Mr. Rand, just to help

       20      everyone, Mr. McClammy from our firm, Jim McClammy is the

       21      personal who is in general one of the points of intake for

       22      claims and late filed claims issues.              So if you do have the

       23      opportunity to either email him or call him, we'll see what

       24      we can do.      Again, we don’t know the substance yet, so I

       25      don’t want to overpromise, but you know --

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        1                  MR. RAND:    What number would I call, sir?      Do you

        2      have an actual number you can give me.

        3                  THE COURT:     Just look up Davis Polk.

        4                  MR. RAND:    Polk, how you spell?

        5                  THE COURT:     Is the --

        6                  MR. HUEBNER:     Your Honor, I think he can find it

        7      on the internet, if you don’t mind (indiscernible) --

        8                  THE COURT:     Yeah, D-A-V-I-S --

        9                  MR. RAND:    I don’t have internet access, I'm in a

       10      maximum-security prison.        Polk, P-O-L-K, huh?

       11                  THE COURT:     Davis Polk, like the president.     D-A-

       12      V-I-S, new word, Polk.

       13                  MR. HUEBNER:     Yeah, why don’t I just give him Mr.

       14      McClammy's office line?       Because I imagine things are quite

       15      challenging over there.       Which again, is available on the

       16      internet, sir, I'm not giving up anything that he couldn't

       17      find, (indiscernible) --

       18                  THE COURT:     All right, that's fine.

       19                  MR. HUEBNER:     Sir, it's (212) 450 --

       20                  MR. RAND:    (212) 450 --

       21                  MR. HUEBNER:     4584.

       22                  MR. RAND:    Well, sir, thank you for -- I'm very

       23      much obliged to you.       I'm the only person in the history of

       24      the United States to be convicted of witness tampering where

       25      there was no crime and no witness.

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        1                  THE COURT:     Well, all right, but that's neither

        2      here nor there as far as this hearing is concerned.                So let

        3      me ask you, Mr. Huebner, is there anything else on the

        4      agenda for today?       I don't think there is.

        5                  MR. HUEBNER:     No, Your Honor, everything else is

        6      adjourned, hopefully adjourned never to return, it's mostly

        7      the motion about (indiscernible).

        8                  THE COURT:     Okay, very well.           So I'll look for the

        9      orders that I've asked you to send me, and I'll ring off at

       10      this point.    Thank you, all.

       11                  MR. RAND:     Thank you, sir.

       12                  (Whereupon these proceedings were concluded at

       13      1:55 PM)

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        1                           C E R T I F I C A T I O N

        2

        3              I, Sonya Ledanski Hyde, certified that the foregoing

        4      transcript is a true and accurate record of the proceedings.

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        7

        8      Sonya Ledanski Hyde

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